          Case 6:21-cv-00474-AA                        Document 50-19                  Filed 08/06/21     Page 1 of 71



From:                             !(b)(6); (b)(7   !~
Sent:                             4 Apr 201417:15:32 +0000
To:                               OCRSeattle
Cc:                               !(b)(6); (b)(7 ! ~
Subject:                          Title IX Sex Discrimination Complaint against George Fox University (Newberg,
OR)
Attachments:                      !(b)(6); (b)   IDiscrimination Complaint.pdf
To Whom It Concerns:

Attached is a Title IX Discrimination Complaint I'm filing on behalf of a !(b)(6); !(b)(6); (b)(7(C)  I          IHe has.
signed the Complaint and the consent form. I am !(b)(6); attorney.             I


fi:filill
     i(b)(6): (b)(7( 11 Davis Wright TremaineLLP
1300 SW Fifth Avenue, Suite 2400 I Portland, OR 97201
Tel: (503) 778-5266 I Fax: (503j 276-5766
Email: i(b)(6) (b)(7(C)          I Website:. www.dwt.com

AnchorageI BellevueI Los.Angeles.
                               I.New.YorkI.PortlandI SanFrancisco.
                                                                ISeattleI ShanghaiI Washington,D.C.




EXHIBIT T                                                                                                                   1
     Case 6:21-cv-00474-AA                        Document 50-19                   Filed 08/06/21          Page 2 of 71




                                United States Department of Education
                                        Office for Civil Rights

                                  DISCRIMINATION
                                               COMPLAINT
                                                       FORM
    You do not have to use this form to file a complaint with the U.S. Department or
    Education's Office for Civil Rights (OCR). You may send OCRa letter or e·mail instead
    or this form, but the letter or e-mail must include the information in items one
    through nine and item fourteen of this form. If you decide to use this form, please
    type or print all information and use additional pages if more space is needed. An on-
    line version of this form, which can be submitted electronically, can be found at:
    http://www.cd.gov/about/officcs/ljst   /ocr /complaintintro.html.
    Before completing this form please read all information contained in the enclosed packet
    including: Information About OCR'sComplaint Resolution Procedures, Notice of Uses of
    Personal Information and the Consent Form.

    1.       Name of person filing this complaint:
                   !(b)(6); (b)(7(C)
    Last Name:::========'-·_
                      First Name:______
                                        1                    l\b!\~l/   I             Middle Name:_____                         _
    Address:     1300 SW Fifth Ave., Suite 2400
    City: Portland                                                 State: OR                 Zip Code: 972 01

    Home Telephone: ________                                      Work Telephone: 503-778-5266

                     l
                            (b)(6); (b)(7(C)                                   I
    E-mail Address: ..!=·===---------....1.--------------

    2.       Name of person discriminated against (if other than person filing). If the person
             discriminated against is age 18 or older, we will need that person's signature on this
             complaint form and the consent/release form before we can proceed with this
             complaint. If the person is a minor, and you do not have the legal authority to file a
             complaint on the student's behalf, the signature of the child's parent or legal
             guardian is required.
               l    (b)(6); (b)(7(C)
    Last Name:.::-======-·
                                            I .
                                               First Name: n
                                                             l(b)(6); (b)(7   I.      Middle Name:_____                         _
    Address: George Fox University

    City: Newberg                                                  State: OR                 Zip Code: 97132
                              J<b)(6); (b)(7(C)
    Home Telephone:.==========~-Work                                          Telephone:________                                _
    E-mail Address: ________________________                                                                                _




            Our Minion is to ensu.reequ11iaccess to education and to promote educational excellence thro11ghou1
                                                                                                              the Nafion.



EXHIBIT T                                                                                                                           2
     Case 6:21-cv-00474-AA            Document 50-19          Filed 08/06/21       Page 3 of 71


    Page 2 of 11 - U.S. Department of Education, Office for Civil Rights
    DiscriminationComplaint Form, Consent Form, and Complaint Processing Procedures


    3.      OCR investigates discrimination complaints against institutions and agencies which
            receive funds from the U.S.Department of Education and against public educational
            entities and libraries that are subject to the provisions of Title 11of the Americans
            with Disabilities Act. Please identify the institution or agency that engaged in the
            alleged discrimination. Jfwe cannot accept your complaint, we will attempt to refer
            it to the appropriate agency and will notify you of that fact.

    Name of Institution:   George Fox university
    Address:   414 N. Meridian St.
    City: Newberg                                  state: Oregon        Zip Code: 97132

    Department/School:     Student Life/Residence Life

    4.      The regulations OCR enforces prohibit discrimination on the basis of race, color,
            national origin, sex, disability, age or retaliation. Please indicate the basis of your
            complaint:

    D       Discrimination based on race (specify)




    D       Discrimination based on color (specify)




    D       Discrimination based on national origin (specify)




    I/ [ Discrimination based on sex (specify)
    Discrimination on the basis of sex, failure to conform to sex
    stereotypes,gender, gender identity and transgenderstatus in
    violationof TitleIX




EXHIBIT T                                                                                             3
     Case 6:21-cv-00474-AA            Document 50-19         Filed 08/06/21       Page 4 of 71


    Page 3 of 11 - U.S. Department of Education, Office for Civil Rights
    Discrimination Complaint Form, Consent Form, and Complaint Processing Procedures


    D       Discrimination based on disability (specify)




    D Discrimination based on age (specify)


    D       Retaliation because you filed a complaint or asserted your rights (specify)




    D       Violation of the Boy Scouts of America Equal Access Act (specify)




    5.      Please describe each alleged discriminatory act. For each action, please include the
            date(s) the discriminatory act occurred, the name(s) of each person(s) involved and,
            why you believe the discrimination was because of race, disability, age, sex, etc. Also
            please provide the names of any person(s) who was present and witnessed the
            act(s) of discrimination.
    See attached statement.




EXHIBIT T                                                                                             4
     Case 6:21-cv-00474-AA             Document 50-19           Filed 08/06/21       Page 5 of 71


    Page 4 of 11 - U.S. Department of Education. Office for Civil Rights
    DiscriminationComplaint Form, Consent Form, and Complaint Processing Procedures
    6.      What is the most recent date you were discriminated against?
    Date:April3, 2014

    7.      If this date is more than 180 days ago, you may request a waiver of the filing
            requirement .

          .D        I am requesting a waiver of the 180-day time frame for filing this complaint.
            Please explain why you waited until now to file your complaint.




    8.      Have you attempted to resolve these allegations with the institution th1·ough an
            internal grievance procedure, appeal or due process hearing?

         ®vEs             0No
            If you answered yes, please describe the allegations in your grievance or hearing,
            identify the date you filed it, and tell us the status. If possible, please provide us
            with a copy of your grievance or appeal or due process request and, if completed,
            the decision in the matter.
    Housing discrimination in violation of Title IX. ~ was denied
    request to livewith other male students on campus. He had
    multiple meetings with university administrators. Final appeal to
    University President on March 27. Appeal denied on April 3.



    9.      If the allegations contained in this complaint have been filed with any other Federal,
            state or local civil rights agency, or any Federal or state court, please give details and
            dates. We will determine whether it is appropriate to investigate your complaint
            based upon the specific allegations of your complaint and the actions taken by the
            other agency or court.
    Agency or Court:_____________________                                                _

    Date Filed: _____           _

    Case Number or Reference: ________________                                       _

    Results of Investigation/Findings     by Agency or Court:




EXHIBIT T                                                                                                5
     Case 6:21-cv-00474-AA          Document 50-19          Filed 08/06/21       Page 6 of 71




       Page 5 of I I - U.S. Departmentof Education,Office for Civil Rights
       Discrimination Complaint Fonn, Consent Fonn, and Complaint Processing Procedures
      · 10.   If we cannot reach you at your home or work, we would like to have the name and
              telephone number of another person (relative or friend) who knows where and
              when we can reach you. This information is not required, but it will be helpful to
              us.
       Last Name: ______           First Name:______            Middle Name:_____              _

       HomeTelephone_________                    Work Telephone:________                   _


       11.    What would you like the institution to do as a result of your complaint - what
              remedy are you seeking?
      All              ·    ·                                      r suite
      Wit                                                          lffi.




      12.     We cannot accept your complaint if it has not been signed. Please sign and date
              your complaint below.

              11/J/}'i                                =
              (Date)
              1)1//'!./If
              ~

      Please mail the completed and signed DiscriminationComplaint Form, your signed consent
      form and copies of any written material or other documents you believe will help OCR
      understand your complaint to the OCREnforcement Officeresponsible for the state where
      the institution or entity about which you are complaining is located. Youcan locate the
      mailing information for the correct enforcement officeon OCR'swebsite at
      htep://wdcrohc:oh20l.ed.cov/CfAPPS/OCR/contactus.cfm.




EXHIBIT T                                                                                          6
         Case 6:21-cv-00474-AA               Document 50-19             Filed 08/06/21   Page 7 of 71




             J>age6 of 11 - U.S. Department of Education,Office for Civil Rights
             Discrimination Complaint Form, Consent Form, and Complaint ProcessingProcedures


                        CONSENTFORM• FORUSEOF PERSONALINFORMATION
                                                   !\?1~~);
                                                   1 l(b)(6); (b)(7(C) I
        Complainant's Name (print or type): .=::::::::..!::====--L-------
        lnstitutlon Against Which Complaint is Filed: George Fox University

        Please sign and date section A, section B or section C and return to the address below:

       I have read the section, "Investigatory Uses of Personal Information" in the OCRdocument "Information
       about OCR'sComplaint Processing Procedures," which explains OCR'suse of personal information. I
       understand that the Privacy Act of 1974, 5 U.S.C.§ 552a, and the Freedom of Information Act {FOIA),5
       U.S.C.§ 552,'govern the use of personal information submitted to all Federal agencies and their
       individual components, including OCR. I will cooperate with OCR'sinvestigation and complaint
       resolution activities undertaken on my behalf. I understand that my failure to cooperate with OCR's
       investigation may result in the closure of my complaint.

    A. r ~ OCRmy consent to reveal my identity (and/or that of my minor child/ward on whose
       behalf the complaint is filed} to the institution alle1ed to have discriminated, as well as other
       persons and entities, if OCR,in the course of Its investigation or for enforcement activities, Hnds
       it necessary to do so.


            Signature                                                 Date

            OR

    8. I ~give      OCRmy consent to reveal my Identity (and/or that ofmy minor child/ward on whose
       behalf the complaint is filed). I understand that OCRmay have to close this complaint ifOCR is unable
       to proceed with an investigation without releasing my identity (and/or that of my minor child/ward on
       whose behalf the complaint Is filed).


            Signature                                                 Date

    C. Alternatively, if you are not filing this complaint on your own behalf or on behalf of your own
       minor child/ward, you are responsible ror obtaining written consent from the person on whose
       behalf the complaint is filed or, ifhe or she is a minor, that person's parent/guardian.

       I have read this document, and I agree with the person who filed this complaint. I wish you to proceed
       with OCR'sinvestigation and resolution process. I give my consent for OCRto reveal my identity
       (and/or that of my minor child/ward on whose behalf the complaint is flied) to other persons to
       the extent necessary for the purpose of resolution or investigation of this complaint.
       Name (print or type):    H~,( !
                                  6); (b)(? jCb)(e);(b)(?(C)


(b)(6); (b)(7(C)                                      tJ 'I/0 3 /I 'I
l
-                                                              Oat/




EXHIBIT T                                                                                                       7
       Case 6:21-cv-00474-AA           Document 50-19         Filed 08/06/21       Page 8 of 71



       l\~/\~LI(he goes by !\~/\~{;
                                 Iis currently a sophomore at George Fox University. He is a
                                 0

transgender male, or an FTM (Female to Male).

         Transitioning can be an extensive process. In (b)( 6); case, he has already taken many
                                                     6
steps. To begin, he legally changed his name to (b)(); through the court system. Additionally,
he started gender therapy over a year ago. After being in therapy for several months, he received
a letter from his doctor granting him the ability to start testosterone, which he has been taking for
                               Ipresents as a male and only goes by male pronouns such as he,
over a year. In addition,!\?!\~~;
his, him etc.
        Moreover, on March 20, 2014, l<b)(~);Istarted the process necessary to complete his legal
gender change. This included filling out the forms, obtaining a letter from his doctor, signing in
front of a notary, and posting his legal gender change request in public at the Multnomah County
                                     Iwill appear before a judge, at which time the judge wiII
Courthouse. In the next week, !(b)(6);
issue a court order affirming his gender change. After this, he will quickly change his name and
sex/gender marker on his Oregon Driver's license and with the Social Security Administration.
All of these steps will be complete well before the start of the next school year.

        On December 26, 2013, !\b!\~>,; Iemailed !(b)(6);(b)(?(C) !Associate Dean of Students, to
tell him that he was going to live with other males for the next academic year. At the time,!\?;\~~;I
didn't think that the university would have a problem with him living on campus with other men.
He asked !(b)(5); (b)(?(C) Iif he needed to start thinking about changing his gender markers on his

documents before the housing selection process began or whether he could live with other men
without needing to make those changes. On January 11, 2014. !(b)(    6);(b)(?(C) !responded that he
had a number of thoughts but nothing coherent yet, remarking that keeping!\?!\~>,:   Iwith his current
roommates would work because he was physiologically female at the time.

                                     Imet withHb)(6);(b)(7(C) I and told him that he5 wanted to live
        On January 15, 2014, !\?!\~>,:
with other males and asked what he would need to do to make that happen !(b)(); (b)(?(C) ldid
not make a decision at this time. He mentioned that l(b)(  5); (b)(?(C) ) Dean of Community Life,

was in the process of putting to ether a policy related to GFU trans ender students and housing
                                  5); bout his situation. However, (b)(    5
and that he would get back to (b)(                                           ); (b)(?(C) did not follow
up with (b)(6);so (b)(6);took it upon himself to contact him again. On January 23, 2014, !(b)(      6);I
emailed (b)(5); (b)(?(C) to inform him that he was going to move forward with his gender marker

change so that it could be done by housing selection time. !(b)(   6);Ialso told him that he spoke with
his future roommates and that they were all comfortable living with him.

        On February 4, 2014 ,l<b)(5); (b)(?(C) Iemailed!\?~\~{; Ito say that the GFU transgender
housing policy was not complete and that he wanted to meet with!\?!\~>,:      Iand l(b)(6);(b)(?(C)ho
discuss his situation. The meeting, originally set for Februar 7 2014, was cancelled due to
                                                             5
weather, and was rescheduled for February 12, 2014. (b)(      ); (b)(?(C) was unable to make the new
               l only met with !(b)();(b)(?(C)fat that time.
date, so !(b)(6);                 6

                                                6);(b)(?(C)
        On February 12, 2014. !(b)(6);!with l(b)(                  5); (b)(?(C)
                                                           land l<b)(                 6);Ithat his initial
                                                                              hold !(b)(
                       Iwould have to live with female students next year. In res onse
decision was that!\?!\~~;
                                                                                          5
                                                                                                  5
                                                                                               (b)( );
toleil<b}/6}
          <b}<7<C}
                !hisstory and explained that he wanted to live with other males. (b)(); (b)(?(C)told
him that he would present !\bl(~~;Irequest to l<b)(
                                 0
                                                        7 I Vice President for Student Life, and four
                                                  5); (b)(




EXHIBIT T                                                                                               8
         Case 6:21-cv-00474-AA         Document 50-19         Filed 08/06/21          Page 9 of 71



members of the Board of Trustees. Then, on February 14. l<bl(  5l;(b)(?(Cl                   I
                                                                         f met with!\?!<~);and
                                                                         I
l\~/\~L l mother. They shared their stories and both asked that l\?H~l;be able to live with his male
friends during the next academic year.

                                        I
          On February 18, 2014, !\~/\~{;.,,                    Ian
                                          mother sent !\~!\,;',l;
                                                            (b)   email stating in part, "I am a
parent with serious concerns regarding the mental health and well being of my son .... I
understand that l\~/\~L !lives as a male and is asking Campus Housing to be allowed to live with
other males ..... Conditions such as transgender are not a choice ... [A]s a concerned parent I am
asking, on!\~!~!;   I
                  (bl behalf, that serious consideration be given, at this time, to addressing
         I
!\~~\,;',);
      (b) situation on an individual, case by case, basis related to his overall mental health and
well being needs."

                              (b) Iacknowledged I\P/\~L
        On February 18,ll~!\,;3,l;                   Imother's email and indicated that he
would communicate her concerns to the Board of Trustees committee that was considering a
transgender housing policy for GFU.

        According to (b)(B);(b)(?(C) the GFU Board of Trustees met on February 20 and decided
that more conversation was needed before they could implement a policy of housing students by
their biological birth sex.

         On February 24, 2014, (b)(B);
                                     (b)(?(C)sent (b)(6);a letter infonning him of the university's
decision with respect to ·        ing. (b)(6);                       I
                                            (b)(7(C) infonned !\?!~~),;
                                                                      that he decided to
                              (bl request but only to live off-campuswith male students for the
"conditionally approve" (b)(B);
2014-20 I 5 school year. He made clear, however, that this arrangement "may only be off-campus
and is only a one-year exception; and it may change depending on the Board's development of a
policy."

        Hb)(B);
              (b)(?(C)lalso stated that (b)(6);could live on-campus in a single room, which he
subse uently said he is holding for (b)(6);should he choose this "option." However, as even~
     (b) acknowledged in his letter, (b)(6);ancil{bl{6l
(b)(6);                                                  {bl{?{Cl
                                                                t'agreed that this was not a good
                             I
option," because ofl\~/\~L mental health and related concerns. For l\~!~~l,;  0   I
                                                                                  it is actually not an
option at all, as it would hann him psychologically and socially and make it impossible for him
to receive a safe and quality educational experience at George Fox.

                                                                                (b)(?(C)t infonned
          Additionally, even to live off-campus with other male students, l(b)(B);
     I
l<b)(~);that he would need to take the following steps:

             1. Le all change his name and gender, and provide copies of the following to~
                (b)(B);(b)
                         by June I, 2014:
                • Driver's License
                • Birth Certificate
                • Social Security Card
             2. The male students he would live with must meet the criteria and be approved to
                live off-campus in 2014-15.
                                                                 I
                      (b)(?(Clt would need to meet with !\bl<~\, roommates and affinn that they
             3. !(b)(B);
                understand his story, are willing to live with him and that they have informed
                their parents about this living arrangement.




EXHIBIT T                                                                                                 9
       Case 6:21-cv-00474-AA           Document 50-19         Filed 08/06/21      Page 10 of 71



            4. They would need to abide by all GFU lifestyle standards and policies.

          The only item that !(b)(5
                                         I
                                   ); (b)(?(C) indicated he would reconsider is whether June I, 2014
                                             I
was a realistic timeframe in which !\?!\~l;could accomplish everything required by #1 above.
                             I
                     5); (b)(?(C)regarding this letter on February 25, 2014.
!(b)(6);!met with 1(b)(

         After a couple weeks,   l)~;m
                                    Iasked me to represent him in relation to his housing
situation.

        On March 18 I asked !(b)( 6);(b)(?(C)Hf there was an internal grievance procedure, appeal or
                        5
due process hearing (b)(); could utilize to contest the university's February 24, 2014 decision.
On March 20, b 6 · b 7 c responded to me discussing the history of the situation and informing
              I
me that !\?!\~l;would be able to appeal his decision but that he could only do so in 'INfitingby 5 :00
p.m. on Thursday, March 27.

___
   5
                                                                       I            I
           Through correspondence with me and meetings with!;~;;~li and !\P/!~L mother,~
i(b)(); (bl leventually ~ejoved two requirements for the off-campus option, namely, the
requirement that (b)(5); essentially "out" himself to his roommates' parents and the requirement
                                                  I
that he change his birth certificate (since !\?!\~l,:was born in one of the few states where this is
currently impossible to do).

       On March 27,!\?1~>,;!appealed the denial of his on-campus housing request to President
Baker. On April 3, President Baker denied his appeal.




EXHIBIT T                                                                                              10
       Case 6:21-cv-00474-AA              Document 50-19             Filed 08/06/21         Page 11 of 71


                                UNITED STATES DEPARTMENT OF EDUCATION                                              REGIONX
                                                 OFFICE FOR CIVILRIGHTS                                            ALASKA
                                                                                                                   AMERICAN SAMOA
                                                   915 2ND AVE., SUITE 3310                                        GUAM
                                                   SEAlTLE, WA 98174-1099                                          HAWAII
                                                                                                                   IDAHO
                                                     July      1,   2014                                           MONTANA
                                                                                                                   NEVADA
                                                                                                                   NOR'TTIERN MARIANA
 Mr.~      !<b)(6); (b)(7(C) I                                                                                      ISLAl\'DS
                                                                                                                   OREGON
 Davis, Wright, Tremaine, LLP                                                                                      WASJ-UNGTON

 1300 SW Fifth Avenue, Suite 2400
 Portland, Oregon 97201

 Re:     George Fox University
         OCR Reference No. 10142152

 Dear Mr. l<b)(6); (b)(7(C) I

 The U.S. Department of Education, Office for Civil Rights (OCR) has completed its
 evaluation of your discrimination complaint against George Fox University (university),
 which was received on April 4, 2014. In your complaint, you alleged that the university
 discriminated against a student based on sex, by denying the student's request to live with
 other male students on campus.

 OCR has the authority to enforce title IX of the Education Amendments of 1972.
 Title IX prohibits discrimination in programs and activities receiving federal financial
 assistance from the U.S. Department of Education. The university receives federal
 financial assistance from this Department. OCR's case processing guidelines provide
 that OCR will close a complaint where the complaint allegations are foreclosed by
 previous decisions of the U.S. Secretary of Education, or the U.S. Department of
 Education's Civil Rights Reviewing Authority, or where the complaint allegations
 are foreclosed by OCR policy determinations.

 Prior to the filing of your complaint, the university requested that the Assistant Secretary
 grant the university a religious exemption from Title IX, pursuant to the Title IX
 regulation at 34 CFR §106.12. The Assistant Secretary has granted that exemption as it
 applies to housing (34 CFR § 106.32), comparable facilities such as restrooms and locker
 rooms (34 CFR §106.33), and athletics (34 CFR §106.41). A copy of the letter granting
 the exemption is enclosed.

 Based on the issuance of the letter of exemption granted by the Assistant Secretary, OCR
 is administratively closing your complaint and will take no further action regarding the
 complaint.

 This letter sets forth OCR's detennination in an individual OCR case. This letter is not
 a formal statement of OCR policy and should not be relied upon, cited, or construed as

    The Department of Education's mission is to promote student achievement and preparation for global competitiveness
                              by fostering educational excellence and ensuring equal access.
EXHIBIT T                                                                                                           11
                                                      www.ed.gov
     Case 6:21-cv-00474-AA      Document 50-19               Filed 08/06/21   Page 12 of 71



 Page 2-OCR Reference No. 10142152

 such. OCR's formal policy statements are approved by a duly authorized OCR official
 and made available to the public.

 Thank you for bringing this matter to our attention. If you have any questions, please
 contact Timothy Sell, Senior Attorney, by telephone at (206) 607-1639, or by e-mail
 at timothy.sell@ed.gov.

                                          Sincerely,
                                          (b)(6); (b)(7(C)




                                                       a son
                                          Program Manager

 Enclosure




EXHIBIT T                                                                                     12
    Case 6:21-cv-00474-AA                Document 50-19              Filed 08/06/21          Page 13 of 71




                           UNITEDSTATESDEPARTMANTOF EDUCATION
                                              OFFICE FOR CIVIL RIGHTS

                                                                                       THE ASSISTANT SECRETARY

                                                    May 23, 2014


     Dr. Robin Baker
     President
     George Fox University
     414 N. Meridian St.
     Newberg, Oregon 97132


     Dear Dr. Baker:

     The purpose of this letter is to respond to your March 31, 2014, letter to the U.S.
     Department of Education, Office for Civil Rights (OCR), in which you requested a
     religious exemption for George Fox University (University) of Newberg, Oregon
     from Title IX of the Education Amendments of 1972 (Title IX), 20 U.S.C. § 1681.
     Title IX prohibits discrimination on the basis of sex in any education program or
     activity operated by a recipient of Federal financial assistance.

     The implementing regulation at 34 C.F.R. § 106.12 provides that Title IX does not
     apply to educational institutions controlled by religious organizations to the extent that
     application of Ti tie IX would be inconsistent with the institution's religious tenets.
     Therefore, such educational institutions are allowed to request an exemption from
     Title IX by identifying the provisions of Title IX that conflict with a specific tenet of
     the religious organization. The request must identify the religious organization that
     controls the educational institution and specify the tenets of that organization and the
     provisions of the law and/or regulation that conflict with those tenets.

     Your request explained that the University, which is owned by the Northwest Yearly
     Meeting of Friends (part of the Quaker movement), is "a Christ-centered community"
     that is "committed to providing a Christian education." You note that four of the
     University's seven Board of Trustees members must be Friends. You state that the
     University's biblical belief is that human beings are created male and female, and that the
     University "cannot in good conscience support or encourage an individual to live in
     conflict with biblical principles."

     Your exemption request points to a recent OCR resolution agreement in which a school
     district agreed to allow a transgender male student to use the restroom, locker room, and
     living facilities consistent with the student's gender identity, and to play on boys' athletic
     teams. You explain that the University "would not be able to make similar
     accommodations consistent with [your] religious beliefs." You further state that, for
     these reasons, the University is requesting an exemption from Title IX and its

                              400 MARYLANDAVE. S.W., WASHINGTON,DC 20202-1100
                                                     www.cd.gov
      The Dcpartmem of Educations mission is 10promme sr11demachievemcnr a,u/ prcparario11forglobal compc1i1i11e11css
                              by/ostl'l'ing educational e.rccl/c11ce
                                                                   and c1Lmri11g
                                                                               equal access.

EXHIBIT T                                                                                                               13
    Case 6:21-cv-00474-AA            Document 50-19             Filed 08/06/21     Page 14 of 71


     Dr. Robin Baker, George Fox University
     May 23, 2014
     Page 2 of 2

     implementing regulation to the extent that they prohibit discrimination based on gender
     identity. We interpret this statement as a request for exemption from provisions
     34 C.F.R. §§ 106.32 (governing housing), 106.33 (governing comparable facilities such
     as restrooms and locker rooms), and 106.41 (governing athletics). The University is
     exempt from these provisions to the extent that they require a recipient to treat students
     consistent with their gender identity, but doing so would conflict with the controlling
     organization's religious tenets.

     Please note that this letter should not be construed to grant exemption from the
     requirements of Title IX and the regulation other than as stated above. In the event that
     OCR receives a complaint against your institution, we are obligated to determine initially
     whether the allegations fall within the exemption here granted. Also, in the unlikely event
     that a complainant alleges that the practices followed by the institution are not based on
     the religious tenets of the controlling organization, OCR is obligated to contact the
     controlling organization to verify those tenets. If the organization provides an
     interpretation of tenets that has a different practical impact than that described by the
     institution, or if the organization denies that it controls the institution, this exemption will
     be rescinded.

     I hope this letter responds fully to your request. If you have any questions, please do not
     hesitate to contact me.

                                                     Sincerely,
                                                     b}(6); (b}(7(C}




                                                     Catherine E. Lhamon
                                                     Assistant Secretary for Civil Rights
                                                     Office for Civil Rights
                                                     U.S. Department of Education




EXHIBIT T                                                                                               14
         Case 6:21-cv-00474-AA                        Document 50-19                Filed 08/06/21     Page 15 of 71



From:                            !(b)(6);(b)(7   I~
Sent:                            29 Aug 2014 23:39:54 +0000
To:                              OCR Seattle
Cc:                              Jackson, Gary;Sell, Timothy;!(b)(6);(b)(7(C)
Subject:               Title IX Sex/Gender Identity Discrimination Complaint Against George Fox
University (Newberg, OR)
Attachments:           ~ OCR Complaint August 29, 2014.pdf

To Whom It Concerns:

                                                                                                   I
Attached is a Title IX discrimination complaint I'm filing on behalf of!(b)(6); !(b)(6);(b) j !(b)(6);(b)(7(C) He      I
has signed the complaint and the consent form. l'm!(b)(6); !attorney and you can contact~through
me. This complaint specifically alleges that George Fox University's denial of safe and appropriate on-
campus housing is not based on the religious tenets of a controlling religious organization.

Thank you,




ITfilill
     i(b)(6);(b)(7(11Davis Wright TremaineLLP
1300 SW Fifth Avenue, Suite 2400 I Portland, OR 97201
Tel: (503) 778-5266 I Fax: (503j 276-5766
Email: i(b)(6)(b)(7(C)           I Website: www.dwt.com


        I BellevueI LosAngelesI NewYorkI PortlandI SanFranciscoISeattleI ShanghaiI Washington,
Anchorage                                                                                   D.C.




EXHIBIT T                                                                                                                  15
    Case 6:21-cv-00474-AA                      Document 50-19                      Filed 08/06/21                  Page 16 of 71




                                      United States Department of Education
                                              Office for Civil Rights

                                       DISCRIMINATIONCOMPLAINTFORM
        You do not have to use this form to file a complaint with the U.S. Department of
        Education's Office for Civil Rights (OCR), You may send OCR a letter or e-mail Instead
        or this form, but the letter or e-mail must include the Information In Items one
        through nine and Item fourteen of this form. If you decide to use this form, please
        type or print all information and use additional pages if more space Is needed, An on-
        line version of this form, which can be submitted electronically, can be found at:
        http://www.ed.gov/about/offices/llst/o er/comptatntintro.htmI.
        Before completing this form please read all information contained In the enclosed packet
        including: Information About OCR's Complaint Resolution Procedures, Notice of Uses of
        Persona\ Information and the Consent Form.

        1.       Name of person nling this complaint:

             l
        Last._
                5
              <b><   7<c>
                 >.<b><
             _____
                                  I
                                 .,.____
                                                    . rn>xonsouthwick Middle Name:____
                                                      .........&.------
                                               F1rst,..WillZU                                                                  _
        Address:1300 SW Fifth Ave., Suite 2400
        city:Portland               State: OR        Zip Code: 97201

        Home Telephonl:             Work Telephone: 503- 778-5266
                                1Tt(biii)(6ffi),"ii(b~)(7~(~C)F===;..::.:::.:..::...:.:.:.:!:.'.,;I
        E-mail Address: _._
                        ______________                                  J-;----------

        2.       Name of person discriminated against (if other than person flling), If the person
                 discriminated against Is age 18 or older, we will need that person's signature on this
                 complaint form and the consent/release fonn before we can proceed with this
                 complaint If the person Is a minor, and you do not have the legal authority to file a
                 complaint on the student's behalf, 'the signature of the child's parent or legal
                  u rdian is re uired.
             ( )(6); (b)(7( )                         l(b)(6); (b)(7(C)
        Last_______                        __,Flrst._______                   _.__Middle           Name:____                   _

        Address:George Fox University
        City: Newberg               State: OR                                                   Zip Code: 97132

        Home Telephone,.__
                                     L
                        J-------...J- Work Telephone: ________
                                 (b)(6); (b)(?(C)
                                                                                                                               _
        E-mail Address: _______________________                                                                                _




              011rMiu/au ls lo r11sm·*                                                     ~xctUr:11ce
                                     equal nccc$1Ir, cdtrca/Jni,trnd la pr~mpl11id11c,11lrmal       thr,wglrnut flit N"tlnn,




EXHIBIT T                                                                                                                          16
    Case 6:21-cv-00474-AA             Document 50-19              Filed 08/06/21          Page 17 of 71




        Page 2 of 12 - tJ.S. Department of Education, Office for Civil Rights Discrimination
        Complaint Form, Consent Form, and Complaint Processing Procedures


        3.     OCRinvestigates discrimination complaints against Institutions and agencies which
               receive funds from the U.S.Department of Education and against public educational
               entit!es and libraries that are subject to the provisions of Title JI of the Americans
               with Disabilities Act. Please identify the Institution or agency that engaged In the
               alleged discrimination. lfwe cannot accept your complaint, we wlll attempt to refer
               it to the appropriate agency and will notify you of that fact

                        George Fox University
        Name oflnstltutlon!

        Address: 414 N. Meridian St.
        Clty:Newberg                                  State:OR            Zip   Code:97132
        Department/School:    Student Life/Residence Life

        4.     The regulations OCRenforces prohibit discrimination on the basis of race, color,
               national origin, sex, disability, age or retaliation. Please indicate the basis of your
               complaint:

        0      Discrimination based on race (specify)




        D Discrimination based on color (specify)


        0      Discrimination based on national origin (specify)




        ~      Discriminationbased on sex (specify)
        Discrimination based on sex, gender, gender identity and
                   status in violationofTitle IX. George Fox U11111ersity's
        tra11sgeJ1der
        discriminatory practices are not based on the religious tenets of a
        controlling rehg,ous organization.




EXHIBIT T                                                                                                 17
    Case 6:21-cv-00474-AA            Document 50-19            Filed 08/06/21         Page 18 of 71




        Page 3 of 12- U.S. Department of Education, Office for Civil Rights Discrimination
        Complaint Form, Consent Fonn, and Complaint Processing Procedures


        0       Discrimination based on dlsablllty (specify)




        D Discrimination based on age (specify)


        0      Retaliation because you filed a complaint or asserted your rights (specify}




        D ViolatJon of the Boy Scouts of America Equal Access Act (specify)



        5.     Please describe each alleged discriminatory act For each action, please Include the
               date{s) the discriminatory act occurred, the name(s) of each person(s) Involved and,
               why you believe the dlscrtminatlon was because of race, disabthty, age,sex,etc. Also
               please provide the names of any person(s) who was present and witnessed the
              act(s) of disrrimlnation.
        See attached statement.




EXHIBIT T                                                                                             18
    Case 6:21-cv-00474-AA                Document 50-19              Filed 08/06/21            Page 19 of 71




        Page 4 of 12 - U.S. Department of Education, Office for Civil Rights Discrimination
        Complaint Fonn, Consent Form, and Compluint Processing Procedures
        6.       What is the most recent date you were discriminated against?
        Date:   August 28, 2014.

        7.       If thls date is more than 180 days ago, you may request a waiver of the filing
                 requirement              ·

                0        I am requesting a waiver of the 180-day time frame for fl ling this complaint.
                 Please explain why you waited until now to file your complaint




        0.       llave you attempted to resolve these allegations with the Institution through an
                 internal grievance procedure, appeal or due process hearing?

             @vEs             0No
                 If you answered yes, please describe the allegations In your grievance or hearing.
                 identify the date you filed it, and tell us the status. If possible, please provide us
                 with a copy of your grievance or appeal or due process request and, if completed,
                 the decision in the matter.
        Housin     discrimination in violation of Title IX. The university
        ~~~K~                                  .
        campus. He participated in multiple meetings with university
        ad111i11ishators  January lhroag!1 Marci, 2014. Final appeat to
                      f10111
        university president on March 27. Appeal denied on April 3.


        9,       lf the allegations contained ln this complaint have been flied with any other Federal,
                 state or local clvll rights agency,or any Federal or state court, please give details and
                 dates. We will determine whether it is appropriate to investigate your complaint
                 based upon the specific allegations of your complaint and the actions taken by the
                 other agencyor court.
        Agency or Court:,____________________                                             _

        Date Flied: ____           _

        Case Number or Reference: ________________                                         _

        Results of Investigation/Findings      by Agency or Court:




EXHIBIT T                                                                                                      19
    Case 6:21-cv-00474-AA           Document 50-19                     Filed 08/06/21        Page 20 of 71




        Page S of l 2 - U.S. Department of Education, Office for Civil Rights Discrimination
        Complaint Fonn, Consent Form, and Complaint Processing Procedures
        10.    If we cannot reach you at your home or work, we would like to have the name and
               telephone number of another person (relatlve or friend) who knows where and
               when we can reach you. This information is not required, but It w!ll be helpful to
               us.

        Last Name: ______            First Namc: ______                      Mlddle Name:____    --

        Home Telephone _________                       Work Telephone: ________                    _


        11.     What would you like the Institution to do as a result of your complaint -         what
               remedy ~re you seeking?
                    I
        Allow j<b/(6); to live in an on-campus house, apartment or suite
        with othe, male stttde11ts who liaoe agreed to live with 111111.
        Revise its housing policies for transgender students. Stop
        mvealln_gprivate medical mtormationabout iI@iJ




        12.    We cannot accept your complaint if It has not been signed. Please sign and date
               your complaint below,     J{b)(6); {b)(7(C)

               8/29/14                       _
               (Date)
                                             ~.---,:---------___,J
                                          fii(b~)~~6)~;
                                                  ('hib):1'(7ii"(1.,~,J----...!..--------,
               8/29/14
               (Date)


        Please mall the completed and signed Discrimination Complaint Form, your signed consent
        form and copies of any written material or other documents you believe will help OCR
        understand your complaint to the OCREnforcement Office responsible for the state where
        the institution or entity aboutwhkh you are complaining Is located. You can locate the
        mailing Information for the correct enforcement office on OCR'swehsite at
        http://wdc~o1,ed.gov/CFAPPS/OCR /contactus.cfm.




EXHIBIT T                                                                                                    20
          Case 6:21-cv-00474-AA                                    Document 50-19                             Filed 08/06/21                       Page 21 of 71




     CONSENT FORM - FOR REVEALING NAME AND PERSONAL INFORMATION TO OTHERS
      .                                                     Please irinl or type except for signature line)

  Your Name:
             He~~~;r;;,
                1(b)(6); (b)(7(C)
  Name of School or Other ln5tltution That You Have Filed This Complaint J\gaiust: _____                                                                                   _
      George Fox University
  •       This fonn asks whether the Office for Civil Rights (OCR) may share your name and other personal
          informationwhen OCR decides that doing so will assist in investigating and resolvingyour complaint.
  •       For example, to decide whether a school discriminated against a person, OCR often needs to reveal that
          person's name and other personal infonnation to employees at that school to verify facts or get additional
          information. When OCR does that, OCR infonns the employees that all fonns of retaliation against that
          person and other individuals associated with the person are prohibited. OCR may also reveal the person's
          name and personal information during interviews with witnesses and conrn!tations with experts,
  •       IfOCR is not allowed to reveal your name or personal information as described above, OCR may decide to
          close your complaint if OCR detennines it is necessary to disqlose your name qr personal information in
          order to resolve whether the school discriminated against you.
          i'<01 'K: If you file a complaint with OCR, OCR can releasecertain informationaboutyour comp\aim to the press or
          general public, including the name of the school or institution; the date your complaint was filed; the type of
          discriminationincluded in your complaint; the date your complalnt was resolved, dismissed or closed; the basic
          reasons for OCR's decision; or other related infonnation. Any informationOCR releAsesto the press or general
          public will not include your name or the name of the person on whose bchalf you filed the complaint.
          .\UT[: OCR requires you to respond to its requests for information.Failure to cooperate with OCR's invcstigiition
          and resolution activities could result in the closure of your complaint.

                       Please sign section A or section B (but not both) and return to OCR:
  •       If you filed the complaint on behalf of yourself, you sllould sign this fonn.
  •       If you filed the complaint on behalf of another specific person, that other person should sign this form.
          r,::\'.U·:PTIO'!: If the complaint wns filed on behalf of a specific person who is younger lhan 18 years old ma
          legallyincompetentadult, this fonn must be signed by the parent or legal guardian of U1atperson.
 •        If you filed the complainton behalf of a class of people, rather than nny specific person, you should sign the form.

 A. I give OCR my consent to reveal my identity (and that of my minor child/ward on whose behalf the
    com I In l                                 ' 'nvestig11tlon and enforcement activities.
  (b)(6); (b)(7(C)


                                                                                                               8/29/14
                                                                                                               Date
                                                                                         OR
 L-~---~----------'
 8, I do not give OCR my consent to reveal my identity(and that of my minor child/ward on whose
    behalf the complaint Is filed) to others, l understand that OCR may have to close my complaint.



 Sign11t11re                                                                                                  Date
                          11·
                                           ii is.tnic Andeo:-r1i:t tht1.!l 1un tht1pi!~OLl ncmed obovc; e.ncJ,if th~ c.omphtinlh filed 01, betutlf of o.111inor chiltllw1w.J
  l dedate u:,,dcrpeualty f.f pttjury th;ai1                                                                                                                              1
                                                                                                                                                                            th~! I 1n1
    Iha\ person·~ p■n:nt or :,gal gu,rdi,n. This d«l,r,tion only opplies lo the idenlily or the ptrson, ar.ddoes nor ~•lond 10ony of the ciaim, ~ led in tho comploint.


 Up,lat<d1lprll }0/4




EXHIBIT T                                                                                                                                                                                21
       Case 6:21-cv-00474-AA                Document 50-19            Filed 08/06/21          Page 22 of 71




       The ~orthwcst Yearly Meeting of Friends Church ("NWYMFC") Does l.\'ot Own or
Control George Fox University

        ln George Fox Cniversity's ("GFU") March 31, 2014 request for a religious exemption
from the requirements of Title IX as applied to !(b)(B);(b) I housing needs, President Baker stated
that "the Cniversity is owned by the->Jorthwest Yearly Meeting of Friends (in fa.ct, 4/7 of the
Hoard of'Trustccs must be Friends)." Sec Exhibit A. President Baker's assertions appear to be
inaccurate. To begin, NWYMfC docs not appear to own GFL. :---JWYMfCdescribes GFU as a
"related organi1ation" that is "accountable to" 1\WYMFC but does not describe itself as the
owner of GFL. Additionally, in GFU's "Year Seven Self-Evaluation Report" prepared for the
1\orthwest Commission on Colleges and Cniversities on \,farch 3, 2014, and submitted by
President Baker as part of GFU' s accreditation process, GfC states in a section regarding its
governing board that "George Fox University is an independent university founded in 1891 by
what has become 1\orthwest Yearly Meeting of Friends Church. A 42-mcmbcr board governs the
university." See Exhibit B (emphasis added). Moreover, GFU continues to file with the Oregon
Secretary of State as a "Public Benefit" nonprofit corporation, rather than as a religious
nonprofit. Sec Exhibit C. Additionally, GFC's current bylaws do not mention the university
having an owner, member, shareholder or other controlling entity. See Exhibit D (last accessed
through the GFU website on 8/29/14). These statements and facts are inconsistent with President
Baker's claim that NWYMFC owns on;.

        Moreover, President Baker's statement that "4/7 of the Hoard of Trustees must be
friends" is misleading. According to CFC's current bylaws, "at least four-sevenths of the
members of the Board shall be members in good standing of the Frie11dsChurch and of these, at
least two-thirds shall be members ofNWYMFC." Sec Exhibit D, Art. IV, Section 1.a (emphasis
added). Consequently, only a minority of the board, two-thirds of four-sevenths, arc required to
be members of'the alleged controlling organization, >IWY\IIFC. The other Friends required to be
on the board can come from Friends churches outside of the denomination, meaning from
churches operating under different theologies and governance structures and unaffiliated with
NWYMFC. And a full 3/7 do not need to have an affiliation with any Friends church or
denomination \Vhatsoever. Consequently, only eight (8) of every twenty-one (21) GFlj board
                                                                                               2
members arc required to be NWYMfC. This fraction constitutes a clear minority of the board.

        In light of the fact that GFU describes itself to its accrediting body as an "independent
university," files with the State of Oregon as a "public benefit" nonprofit, and operates under
bylaws that do not mention ownership by any other entity and that merely require a minority of
the board to be af"liliatcd with >JWYMFC, the Department of Education should investigate
GfC's claim orownership and control by I\'WYMFC.




        I
'!(b)(6); is his legal name but he goes by~
2
  Additionally, while "lWYMFC must approve all GFU board members, thirteen out of fourteen board members
elected at the annual meeting arc nominated by the GFU Board of Trustees and the CifU Alumni Assm:iation (the
other hoard member is nominated by the George Fox Evangelical Seminary Board of Regents). See Exhibit D, /\rt.
IV, Section 2.a. Through this nominations process, GFU maintains control over its board and can accurately
describe itself as an independent, rather than sectarian, institution, and as a public benefit nonprofit, rather than a
religious co1·poration.




EXHIBIT T                                                                                                             22
       Case 6:21-cv-00474-AA          Document 50-19         Filed 08/06/21     Page 23 of 71




        GFU's Discriminatory Actions Toward !\~!~~;jArc ~ot Based on the Religious Tenets
of:'.'JWYMFC                                  .

         NWYMFC has no religious tenet position or policy regarding transgcndcr people or
transitioning one's sex or gender. Indeed, GFU's March 31, 2014 request for a religious
exemption from Title IX does not reference a single religious tenet, policy or position of
l\WYvlFC, let alone a religious tenet relating lo trans render co le. Indeed, as stated by two
senior pastors in the l\WYMFC denomination, (b)( 5); (b)(?(C)             Pastor at Camas rriends
                          I
Church, and l<b)(6 );(b)(?(C) Pastor at West !!ills Friends Church, there is no basis in '.\JWYMFC's
religious tenets for GfU's actions. As the pastors stated in a joint press release lo numerous
                                 !
media outlets follc)\ving !\~?\%::, denial of safe and appropriate on-campus housing:

               As pastors in :--JWYearly vfeetin 1 we urge George Fox Lnivcrsity
               to provide safe housing for (b)( 5 ); (b) It is our understanding that
               our 'Faith and Practice' provides no theological grounds
               whatsoever for excluding transgender students from housing
               consistent with their gender identity. As Quakers, the hihlical
               teaching that men and women are created in the image of God
               convicts us that ' ... all persons have equal value and are created in
               the image of God' (Vision, \1ission and Values: 1). The
               theological framework of our faith & Practice anirrns the inherent
               dignity of all people, regardless of their gender identity:

                We witness to the dignity and worth of all persons befhre God. l:Ve
                repudiate and seek to remove discrimination based on gender.
                race, nationality, or class. f·Ve deplore rhe use qlse(,flsh ends to
               gain unfair advantage, and ·we urge political, economic, and social
               justice.fhr all peoples. We consider civil order mostjusl ·when
                conscience isfi'ee and reli;:;iousfaith uncoerced (Faith Lxprcssed
                through Witness: 11).

                The same Faith & Practice urges us to consider: Do you speak out
               fcJrjustice and morality, and against oppression, exploitation, and
               public H·rong? Do you recognize the equality ofpersons regardless
                of race, gender, or economic status (The Queries /il 8: 13)?

               Based upon these theologieal convictions, we ask George 1:ox
               Lnivcrsity to honor the housing requests of its transgendcr
               students. Let us follow the example of Jesus Christ, and extend
               hospitality to those who might otherwise be unsafe and umvclcomc
               in our communities.

         In light of GfC's complete failure to point to any NWYMFC religious tenet regarding
transgcndcr people, and in light of these strong statements by :--JWYMFC senior pastors, and in
light of the fact that nothing to the contrary has been reported or stated by :--JWYMFC itsell", it is
                                         I
clear that GFC's decision to deny!\~/~~~;safe and appropriate on-campus housing is not based on
compliance with the religious tenets of :--JWYMfC. Consequently, the religious exemption


                                                   2

EXHIBIT T                                                                                              23
          Case 6:21-cv-00474-AA              Document 50-19             Filed 08/06/21         Page 24 of 71



granted to GFU should be rescinded and GFU should he required to comply with Title IX
regarding !\~/\~L      I
                 housing needs.
                                3


        tdorcovcr, while GFlJ's justifications for its decision to deny safe and appropriate on-
                                   I
campus housing to!\~~\~~;have changed over time, they have never been based on explicit, or
even implicit, references to the religious tenets of the l\WY\lffC. When GFL ori rinally refused
                   I                                                            5
to allow!\~~\~~;to live with his male friends on campus in February 2014, (b)( ); (b)(l(C) ·aid that
the university was considering adding a statement to the student housing policy that would house
students based on "biological birth sex," but that "alter a lengthy conversation with the Board of
Trustees," not wi1h NWYMFC, "it was decided that the housing policy needs more time to be
developed[. rl<b)( 5); (b)(l(C) !made no reference to any religious tenet of NWY :V1FC.

         !\ow, rather than pursuing a policy based on "biological birth sex," the university has
embraced a housing policy for students based on "anatomy." See
http://~\'.WW,l.!,eorgefox.edu~tr.~msgcnder/
                                           The new policy based on anatomy allows a post-surgery
transgcndcr person to be housed in safe and appropriate on-campus housing, but docs not allow a
pre-surgery transgcndcr person to be housed in safe and appropriate on-campus housing.~ GPU
does not point to a religious tenet of ;,JWYMFC justifying, let alone requiring, this position.
Moreover, GFU's announcement of its new anatomy-based policy, accessed through the web
link above, and the accompanying discussion of!\?1\~>,;             I
                                                         and his housing situation, docs not make a
single reference to NWY\1FC or any religious tenet concerning gender identity or transgender
people.

        In fact, GFU's religious exemption request appears largely based on opposition to
homosexuality. !\~~\~~;        I
                         however, is not contesting GFU or l\WY\,1FC's religious tenets or
                           0

positions with respect to homosexuality, homosexual conduct or same-sex marriage. Sexuality
and gender are separate aspects of a person's identity. !\~/\~L              I
                                                                  gender is male, his sexuality is
heterosexual. (b)(6); is attracted to women and is taking testosterone under the supervision of a
medical doctor. (b)(6); is not trying to live with men for any sexual purpose whatsoever. GfC's
opposition to homosexuality cannot serve as the basis for an exemption from Title IX's
requirements as they relate to gender identity.


1
    \foreover, GFU's request for a religious exemption appears inconsistent with its own statements to its students and
to the institution that accredits the university. In GFU's "Year Seven Self-Evaluation Report" prepared for the
Northwest Commission on Colleges and LJnivcrsitics on March 3, 2014, GFU states under its "Non-Discrimination"
section that "We respect the dignity of each person and operate in a non-discrimin11toryway. Our student handbook
includes an 'anti-discrimination policy. The policy states: Discrimination or harassment due to race, color, sex,
sexual orientation, marital status, religion, creed, age, natiorrnl origin, citizenship status, worker's compensation
status, physical or mental disability, veteran srnius, or any other status protec_lc<lunder applicable local, state, or
 federal law; ~1rany other distingu_ishing characteristic prolc:cted by non-di?.cri1.ninationlaw, is prohibited." Exhibit B
(emphasis added). GFU's non-discrimination statement is not accompanied hy any limiting clause stating, for
example, "except to the extent n:quircd to comply with the religious tenets of ?\WY\1FC." Consequently, there
appears to be no basis, in NWYMFC's religious tenets or otherwise, for GFC's depatture from its non-
discrimination commitments.
4
   GFL docs not state what constituks "surgery" and whether its policy requires both top and bottom surgeiy.
Addition11lly,the policy appe11rsto only apply to GFlJ''s dorms, not lo its on-campus apartments, houses and suites.
!(b)(6); ! however, was denied access to all on-campus hourng lith his male friends, inclutng rartments, houses and
suites. The only on-campus housing option GfU offered (b)            was a single room where (b) woul<l be required to
 live by himself.

                                                             3

EXHIBIT T                                                                                                              24
      Case 6:21-cv-00474-AA            Document 50-19       Filed 08/06/21      Page 25 of 71




        In Catherine Lhamon's May 23, 2014 letter to President Baker granting GFU a limited
religious exemption to Title IX, \1s. Lhamon states that if "a complainant alleges that the
practices followed by the institution arc not based on the religious tenets of the controlling
organization, OCR is obligated to contact the controlling organization to verify those tenets. Jf
the organization provides an interpretation of tenets that has a di ffercnt practical impact than that
described by the institution, or if the organization denies that it controls the institution, this
exemption will be rescinded."

               I
        !\?!\~~;alleges that GFU's practices arc not based on NWYMFC's religious tenets and
requests that OCR contact NWYl\.ffC, the alleged controlling organization, to determine whether
ii controls GFL, and if it docs, whether it has religious tenets that require denying!\~!\~?~,I
request to live with other male friends on campus in a house, apartment or suite.

         The Facts Surrounding GFlJ's Denial of Safe and Appropriate On-Campus Housing
           I
to !\?!\~l,:Demonstrate Discrimination Based on Sex, Gender Identity and Transgcndcr
       0

Status in Violation of Title IX

            Iis starting his junior year at George Fox University. I le is a transgendcr male, or an
      !\?!\~),:
FTM (Female to Male).

         Transitioning can be an extensive process. In (b)(G); case, he has already taken many
steps. To begin, he legally changed his name to (b)(G); through the court system. Additionally,
he started gender therapy over a year ago. After being in therapy for several months, he received
a letter from his doctor granting him the ability to start testosterone, which he has been taking for
                               I
over a year. In addition, !\b!\~~;presents as a male and only goes by male pronouns such as he,
his, him etc.

                                              I
        :\forcover, on March 20, 2014, !\?!\~~;started the process necessary to complete his legal
gender change. This included filling out the forms, obtaining a letter from his doctor, signing in
front of a notary, and posting his legal gender change request in public at the M ultnornah County
                   I
Courthouse. !\?1\~l,:
                    then appeared before a judge, who, on April 11, 2014, issued a court order
                                                      I
affirming his gender change. See Exhibit E. !\?!\~)/has also changed his name and sex/gender
marker on his Oregon Driver's license and with the Social Security Administration.

                                             I                         I
        On December 26, 2013, while!\?(~~),:was a sophomore, !(b)(~);emailed l(b)(G);(b)(?(C)
Associate Dean of Students, to tell him that he was going to live with other males for the next
                                   I
academic year. At the time,!\?(~~~;did not think that the university would have a problem with
him living on campus with other men. I le asked!(b)(G);(b)(?(C)   lfhe needed to start thinking
about changing his gender markers on his documents before the housing selection process began
or whether he could live with other men without needing to make those changes. On January 11,
2014J(b)(G);
           (b)(?(C) !responded that he had a number of thoughts but nothing coherent yet,
                              I
remarking that keeping!\?!\~),:with his current roommates would work because he was
physiologically female at the time.

        On January 15, 2014,!\?1~~)/
                                   !met ,vith!(b)(G);(b)(?(C)~nd told him that he wanted to live
with other males and asked what he would need to do to make that happen,!(b)(6); (b)(?(C) ~iid
not make a decision at this time. He mentioned that !(b)(G);
                                                           (b)(?(C) !Dean of Community Life,


                                                  4

EXHIBIT T                                                                                           25
       Case 6:21-cv-00474-AA           Document 50-19            Filed 08/06/21    Page 26 of 71



was in the process of putting together a policy related to GfU trans render students and housing
                                       I                                5
and that he would get back to l\?1\~z;about his situation. l lowcver, (b)(); (b)(?(C) did not follow
                      6
up with (b)(6); so (b)(); took it upon himself to contact him again. On January 23, 2014, l\?1\~z;     I
emailed (b)(6);
              (b)(7(C) to inform him that he was going to move forward with his gender marker
                                                                        I
change so that it could be done by housing selection time. l\b!\~z;also told him that he spoke with
his futurc roommates and that they were all comfortable living with him.
                                  5); (b)(?(C) !emailed !\?!\~>,:
        On February 4, 20 l 4, !(b)(                              l
                                                               to say that the G FC trans ender
housing policy was not complete and that he wanted to meet with l\?1\~l:       land (b)(5); (b)(?(C) o
discuss his situation. The meeting, originally set for February 7, 2014, was cancelled due to
weather, and was rescheduled for February 12, 2014. J\fr !(b)(    6); (b)(?(Iwas unable to make the new
               I
date, so I\?!\~~;                5); (b)(?(C)htthat time.
                only met with!(b)(

          On February 12, 2014, I\?!\~~;I                                   5
                                                                                              I
                                                        5l;(b)(?(C)land !(bl(l;(b)(?(C)kold I\?!\~~;
                                           met \Vith l<bl(                                       that his
initial decision was that I\?!~~~;  lwould have to live with female students next year. In response,
     I           5
l(b)(~z;told (b)(); (b)(?(C) his story and explained why it was so important for him to live with other
males. (b)(5); (b)(?(C) told him that he would present        I
                                                         !\~!\~L   request to iM..J@LJ     Vic· J •., · · ·
                                                                                                  5
for Student Life, and fi.iurmembers of'the Board of Trustees. Then, on February 14, (b)(l;(b)(?(C)
met with l\?1~~~;            l
                   land l\?1\~L mother. They shared their stories and both asked that (b)(6); be able to
live with his male friends during the next academic year.

        On February l 8, 2014, l\~!\~L      I
                                          mother sent!\~{~):
                                                           (b)        !an
                                                                   cmai 1 stating in part, "I am a
parent with serious concerns regarding the mental health and wel 1 being of my son .... I
understand that l<b/(~\  llives as a male and is asking Campus Housing to he allowed to live with
other males ..... Conditions such as trans gender arc not a choice ... IA]s a concerned parent I am
asking, on!\~{~};    I
                  (b) behalf",that serious consideration be given, at this time, to addressing
I\~{~}:  I
     (b) situation on an individual, case by case, basis related to his overall mental health and
well heing needs."

        On February 18, (~)~);(b) acknowledged l\~/\~L       I
                                                     mother's email and indicated that he
would communicate her concerns to the Board of Trustees committee that was considering a
transgender housing policy for GFU.

        According td(b)(5); (b)(?(C)   !the
                                       GFC Hoard of Trustees met on February 20 and decided
that more conversation ,vas needed before they could implement a policy of housing students by
their "biological birth sex." See Exhibit F.

         On February 24, 2014Jbl( 5); (b)(?(C)kent (b)(6); a letter informing him of the university's
decision with respect to his housing (Exhibit F). (b)(5); (b)(?(C) informed I\?!\~~;I
                                                                                  that he decided to
''conditionally approve" I\~/\~\,  I
                                 request but only to live offcwnpus with male students for the
2014-2015 school year. He made clear, however, that this arrangement "may only be off-campus
and is only a one-year exception; and it may change depending on the Board's development of a
pol icy."
           (bl(5l;(b)(?(C) al so stated that (b)(5); could live on-campus in a single room, which he Im]
subse uently said he is holding for (b)(6); sho Ii he choose this "option." I [owcver, as even (b)
(b)(5); (b) acknq}vlcdged in hjs letter (b)(5); and (b)(5); (b)(?(C) "a reed that this \Vas not <U!,Ood


                                                     5

EXHIBIT T                                                                                                  26
          Case 6:21-cv-00474-AA          Document 50-19          Filed 08/06/21         Page 27 of 71




                                                                                    I
option," because of!(b)(6); lmental health and related concerns. For!\?!\~\ it is actually not an
option at all, as it would harm him psychologically and socially and make it impossible for him
to receive a safe and quality educational experience at George Fox.

                                                                                    6);(b)Iinformed
         Additionally, even to Iivc off-cam pus \Vith other male students, i\fr. !(b)(
      I
!\?!\~~;that he would need to take the following steps:

              1. Legally change his name and gender, and provide copies of the following to!\b)\~>i             I
                   !(b)(
                       5 ); (b)!by June 1, 2014:

                   • Driver's I ,iccnsc
                   • Birth Certificate
                   • Social Security Card
              2. The male students he would live with must meet the criteria and be approved to
                 r++,~~~          ...... ,us in 2014-15.

              3. -----•·                                            I
                                          .'ould need to meet with !\~?\~L roommates and affirm that they
                   understand his story, are willing to live with him and that they have informed
                   their parents about this living arrangement.
              4. They would need to abide by all GfU lifestyle standards and policies.

         The only item that (b)(5); (b)(?(C)indicated he would reconsider is whether June I, 2014
was a realistic timcframc in which (b)(6); could accomplish everything required by ill above.
(b)(6); met withl(b)(
                   6);(b)(7(C) !regarding this letter on February 25, 20 I 4. After a couple weeks,
        asked me to represent him in relation to his housing situation.
           5                                6); for the names of his fi.1turc roommates so that he could
       !(b)(); (b)(?(C)!had also asked (b)(
ask them \\·hat they knew about (b)(6); situation and to allow them "to freely tell ~(b)(                   I
                                                                                                    6);(b)(?(C)
about their desire to live v.·ith (b)(6);(b) (b)(6);sent (b)(5); (b)(?(C)their names the fol]o'l.vin1 da .
One of the frlture roommates (b)(6); had indicated to (b)(5); (b)(?(C)also contactl!d (b)(5); (b)(?(C)on
Ylarch 11 and asked when he could speak with him rcgardin their housing situation with!\?!\~~;!
                                                                      5
next year. On March 17, without informing!\?!\~~;!or me, (b)(           ); (b)(?(C) rather than alhnving

          I
!\~?\~L future roommates to have a meeting in which they could "freely tell him about their
desire to live with (b)(5); (b) "told!\~/\~~;.,,! future roommate that he should sign up through on-
campus housing without (b)(6);
                                  (b)(6);
                                       (b)(7(C). , l            .          .
       () n Marc l1 18, I asked ____         _.it t 1erc was an internal gncvancc procedure, appeal or
due process hcarin) (b)(6); could utilize to contest the university's February 24, 2014 decision.
On ::Vlarch20, (b)(5); (b)(?(C)responded to me discussing the history of the situation and informing
                I
me that!\?!\~~;would be able to appeal his decision but that he could only do so in writing by 5 :00
p.m. on Thursday, \1arch 27.

            Through correspondence with me and meetings with!\?!\~~;!      and !\~!\~L ! mother, ~
     6),...;
'"'!(b
  ....
   )("" (""'b)'"'kvcntually
                       removed two requirements for the off-campus option, namely, lhe
requirement that!\?!\~~;    ! essentially "out" himscl f to his roommates' parents and the requirement
                                                    I
that he change his birth certificate (since!\?!\~>,;was born in one of the kw states where this is
currently impossible to do).




                                                        6

EXHIBIT T                                                                                                   27
       Case 6:21-cv-00474-AA           Document 50-19         Filed 08/06/21       Page 28 of 71




                                                                        I
         Prior to the March 20 GfU housing deposit deadline,!\~~\~~; paid his housing deposit.
Prior to the March 21 housing deadline,!\~~~~{;!secured the a )rccmcnt of all his future roommates
to live \vith him. One of these roommates made a request to (b)( 6 ); (b)(?(C) hat (b)(6); be able to live
on-campus with him and the other male students he had previously indicated. (b)(6); (b)(7(C) denied
this request.

                             I
        On March 2 7, !\~1~~~;appealed the denial of his on-campus housing request to President
Baker. On March 31, President Baker requested a religious exemption from the requirements of
Title IX as applied to transgcndcr students. On April 3, President Baker denied !\~!\~L  Iappeal.
On May 23, 2014 the Department of Education granted GFL a limited religious exemption to
Title IX as applied to trans gender students. On July 1, 2014, OCR closed !\~!\~L Ioriginal
complaint on the basis of the \1ay 23, 2014 religious exemption.

         I have been encouraged by OCR staff to re-file          I
                                                            !\~1\~Lcomplaint as a new complaint
rather than as an appeal to the July 1, 2014 closure of his complaint. Consequently, I am filing
this as a new complaint with OCR. To the extent OCR needs to consider this an appeal to !\~l(     6
                                                                                                    );
                                                     I
original complaint, it may do so. I lowcver, !(b)(~); and I would prefer OCR to treat this as a new
complaint.  !\?1\~~;
                !remains    enrolled al George Fox University and continues to be excluded from
the on-campus housing options available to other male students.




                                                     7

EXHIBIT T                                                                                               28
    Case 6:21-cv-00474-AA   Document 50-19   Filed 08/06/21   Page 29 of 71




                 Exhibit A




EXHIBIT T                                                                     29
    Case 6:21-cv-00474-AA                  Document 50-19                   Filed 08/06/21   Page 30 of 71



                                     ~14 N. Mcriditn St., l'lew\icrg, OP,   ,,132
                                      ;ouis.,JSl



                                                                                                 March 31, 2014



    CatherineLhamon, Assistant Secretary
    U.S. Departmentof Education, Office for Civil Rights
    LyndonBainesJohruoll Departmentof Education Building
    400 MarylandAvenue, SW
    Washington,DC 202◊✓--1100

    Re:     George Fo'XUniversity's Request for Ti~leIX Religious Ex.emption

    Dear .lvk Lbamon:

            I have become aware thttt the Departments of Education and Justice recently interpreted
    Title IX's ban on sex discrin~ation io education to include discrimination based on gender
    identity.' As President of George Fox University, a private, religious liberal arts college in
    Oregon, I hereby request, under 34 C.F.R. §106.12, an exemption for George Fox from this
    interpretationof Title IX~ due tot.he religious beliefs of our institution.

           George Fox University, a Christ-centered community, prepares students spiritullly,
    academically,and profe.ssionallyto thinkwith clarity, act with integrity, and serve with pas~ion.
    Since its founding .more than a century ago, George Fox has been committed to providing n.
    Christianeducation - from its early days as Friends Pacific Academy, established in 1885, to 1he
    present. Its .namehonors the founder of the Friends (Quaker) movement and the University is
    owned by the Northwest Yearly Meeting of Friends (in fact, 4/7 of the.Board of Trustees must be
    Friends) ..

          _1nits Statement of Faith, the University expresses its beli~f that, "(i]n love and joy, God
    creates and sustains the universe, including humanity, male and female, who are made in God's
    image:· 2 The Dniversit:1believes uthat God inspired the Bible and bas given it to us as the
    uniquely authoritative,written guide for Christian living and thi.nking.As illumiaed by the Holy
    Spirit, the Scriptures are u-ue and reliable." These theological beliefs are also embedded in the
    doc1.rinalstatementsof the NorthwestYearly Meeting of Friends.

           The University believes that human beings, fashioned by God in His ovm.image, are
    created male and female (Genesis 1:27). In the New Testament>Jesus confums the heterosexual
    creation of human beings: God mad~ them male and female (Matthew 19:4). Like the rest of


    1
     ResolutionAgreementBetween the ArcadiaUnified SchoolDistrict, the U.S. DepartmentofBducation, Office for
    Civil Rights,and the U.S. Dcp~.rtmentofJus1ice,Civil Rights Division, (Nailableat
    bltp://wwwJustice.govkrt/about!edu/docum11nts/arcadiaagre~.pdf
    1
     GeorgePox University,Abm,t GMrge Fa~-Stalermmt        of Fuilh,
    http://www.georgefox.e-dult.bo11t/mission_
                                          vis1on_values/foith_statemont.html
                                                                          (last \•isited Mar. l 7, 20J4).




EXHIBIT T                                                                                                       30
    Case 6:21-cv-00474-AA                Document 50-19     Filed 08/06/21       Page 31 of 71




    Lettertc Ms, CatherineLh:imo;i
    March 31, 2014
    Page 2 of3




    God}s creation, the sexual differences between mM and woman are pronounced "very good"
    (Genesis 1:31).

            This disttnction between men and women is also assumed m our lifestyle statemeni with
    regard to issues of sexual morality. The stateA1entsays that "in regard to sexual mora!ir;,, we
    believe tha! only mamage between a man and a 1,.vomanis God's inten:ion for the ~ :>yfu1
    fulfillmentof sexual imim~cy.Th.isshould always be in the context of mutual com1:1assio1t
                                                                                     .       ' Jcve,
    and fidelity. Sexual behaviors omside of this context are inconsistent with God's teaching. We
    recognize these principles may conflict with the practice or opinion of some within the brger
    culture. We are convinc:edthat th.isis God's design for prnviding the most lovjng gui<lancfand
    practice for indh~duals11ndour community."


               We affum the dignity of nll hwnan beings, We also separate, the value of each person
    from tlie behavioralchoices one makes. We believe that, as Chr.istia.'J.s,
                                                                           we 3:(ecaJlcd.to treHt all
    people with compassion,and to extend the gospel ofrcpentance, forgiveness,and trao.sfonmction
    through Jesus Christ to such persons V1ithoutreservation. However, in keeping with our biblical
    beliefs swrouod.ing the morality: of such actions, we cannot irl good conscie.ucesuppoit or
    encou:r:agean individualto live in conflict with biblical principles.

            Based on the resolution recently entered into by the Department and a California school
    district/ it appears that the Department is now interpreting Title IX's ban on discriminatiori in
    educationbecause of sex to a!so mean that educationalinstitutions may not ''discriminate" on the
    basis of "gender identity." Specifically,the school district in that dispute was ordered to allcw a
    female student presenting herself a.s male to use the restroom, locker room, and living
    accommodationsof her c:hoice,81.ldto partici_pate
                                     '     .
                                                      io boys' athletic programs.

          . We would not be able to make similar accommodatioo.sconsistent with our religious
    beliefs. Because of our biblical beliefs regarding gender and sexual roora.tity,our practices might
    be deemed a violation of this interpretation of Title rx. However, under 20 U.S.C, §16S1(a)(3)
    and 34 C,F.R. §106.12(a),this interpretationdoes not apply to George Fox: 11Thjs part does not
    apply to an educationalinstitution which is controlled by a religious orgnnization to the eXl~nt
    applicationof this part would not be consistent withthe religious tenets of such organization."

            Thus, on behalf of George Pox University, 1 hereby request an official exemption from
    compliance with that interpretation of Title IX, George Fox gladly complies with Title IX with
    respect to granting equal opportunities in educational programs or employment to members of
    bofu sexes; our request for exemption is limited to the recent interpretationthat "sex" under T.tle
    IX also includesgender identity.
    3
        See supra note l.




EXHIBIT T                                                                                                 31
          Case 6:21-cv-00474-AA              Document 50-19     Filed 08/06/21       Page 32 of 71
A"   I'
 '

           Letter to Ms. Catherine Lhan~on
           M~rcb .31,2014
           P;ige3 of3




                  If you require anythingfurther,plea.sedo not hesit.ate"wco;..up-'--'-'-...,_____
                                                                          ----


                                                                                Baker

                                                                               ox University

          cc:   l(b)(6); (b)(7(C)
                                                            C




 EXHIBIT T                                                                                           32
    Case 6:21-cv-00474-AA   Document 50-19   Filed 08/06/21   Page 33 of 71




                  Exhibit B




EXHIBIT T                                                                     33
                             Case 6:21-cv-00474-AA   Document 50-19      Filed 08/06/21              Page 34 of 71




     Year Seven Self-Evaluation Report
                                ,.
                               -~   ,( -~ \ t   >,

                               .i ~. J t        ~




•.   '.   :"



               .   "                                                                                                 ,·   .•   j

                       '·'                                                                                          . ' '




                                                                      ....                       ~~~:>·.-n...,.:"
                                                                                          ~---~•r..;, ,-..

                                                               -~,. ,. - ~c,~•~•r·;·~-~'.Pr~·.,.t~;;?.
                                                                  ~




               EXHIBIT T                                                                                                           34
       Case 6:21-cv-00474-AA                                Document 50-19                       Filed 08/06/21                   Page 35 of 71




                                                                   Table of Contents



 Institutional Overview ...........................................................................................................                             4

         Our history ..............................................................................................................................             4

         George Fox University today ...................................................................................................                        4

 Preface ..................................................................................................................................                     6

     Institutional updates . ........................................................................................................                           6
         Brief update on institutional changes since the Year Three report. ...................................... 6

         Responses to Year Three recommendations ..........................................................................                                     6

     Standard 1.A: Mission ........................................................................................................                             8

         Definition of mission components ..........................................................................................                            8

         Interpretation           of mission fulfillment ......................................................................................                 9
         Interpretation           of an acceptable threshold ...........................................................................                      11

     Standard 1.B Core Themes ...............................................................................................                                 11

         Core theme #1: Excellence in liberal arts foundation ..........................................................                                      12

         Core theme #2: Excellence in professional preparation ......................................................                                         15

         Core theme #3: Christ-centered community .......................................................................                                     18

         Core theme #4: Local and global engagement ....................................................................                                      22
     Chapter Summary ............................................................................................................                             26
 Chapter Two: Resources and Capacity ..................................................................................                                       27
     Standard 2.A governance: 2.A.1-                             2.A.30 . ........................................................................            27
         Institutional governance: 2.A.1- 2.A.3 ...............................................................................                               27
         Governing board: 2.A.4 - 2.A.8 ...........................................................................                           , ............... 28

         Leadership and management:                           2.A.9 - 2.A.11. ....................................................................            30
         Policies and procedures: 2.A.12 - 2.A.30 .............................................................................                               32

     Standard 2.B Human Resources .......................................................................................                                     46

     Standard 2.C Education resources: 2.C.1 - 2.C.19 .............................................................                                           51

         Education resources: 2.C.1- 2.C.8 ......................................................................................                             51

         Undergraduate programs: 2.C.9 - 2.C.11. ...........................................................................                                  59

         Graduate programs: 2.C.12 - 2.C.15 ....................................................................................                              64

         Continuing education and non-credit programs: 2.C.16 - 2.C.19 ........................................ 69



 Gcorr,c Fox Ur.iversity




EXHIBIT T                                                                                                                                                            35
       Case 6:21-cv-00474-AA                              Document 50-19                        Filed 08/06/21                   Page 36 of 71




     Standard 2.D Student Support Resources: 2.D.1-                                      2.D.14 .................................................        72

     Standard 2.E Library and Information Resources: 2.E.1- 2.E.4 ..........................................                                             83

     Standard 2.F Financial Resources: 2.F.1- 2.F.8 . ...............................................................                                    85

     Standard 2.G Physical and Technological Infrastructure:                                        2.G.1-       2.G.8 . ............................    89

         Physical infrastructure:                2.G.1 - 2.G.4 ..................................................................................        89

         Technological infrastructure:                    2.G.5- 2.G.8 .........................................................................         90

     Conclusion .......................................................................................................................                  93

 Chapter Three: Planning and Implementation ......................................................................                                       97

     Standard 3.A Institutional Planning: 3.A.1-3.A.5 ...............................................................                                    97

     Standard 3.B Core Theme Planning: 3.B.1-3.A.3 .............................................................                                        101

 Chapter Four: Effectiveness and Improvement ...................................................................                                        103

     Standard 4.A Assessment: 4.A.1-                            4.A.6 ........................................................................          103

     Standard 4.B Improvement:                        4.B.1- 4.B.2 .....................................................................                105

 Chapter Five: Mission Fulfillment, Adaptation, and Sustainability .....................................                                                107

     Standard 5.A Mission Fulfillment: 5.A.1- 5.A.2 ............................................................                                        107

     Standard 5.B Adaptation and Sustainability: 5.B.1- 5.B.3 .............................................                                             108

 Appendices .......................................................................................................................                     110

     Appendix A: ...................................................................................................................                    110

         Executive summary of eligibility requirements                               4 through 21. ...........................................          110

     Appendix 8 ....................................................................................................................                    114

         2013-2014 Support Staff and Administrative                                FTE ..............................................................   114



                                                                     List of Tables

 Table 1 Primary alignment of mission outcomes ..........................................................................................              9
 Table 2 Key core theme #1 objectives that serve as indicators of mission fulfillment.. ............................. 10
 Table 3 Key core theme #2 objectives that serve as indicators of mission fulfillment.. ............................. 10
 Table 4 Key core theme 113objectives that serve as indicators of mission fulfillment.. ............................. 10
 Table 5 Key core theme lt4 objectives that serve as indicators of mission fulfillment.. ............................. 11
 Table 6 Core theme #1: excellence liberal arts foundation ........................................................................ 12
 Table 7 Core theme #2: excellence in professional preparation ........................................................                               16
 Table 8 Core theme #3: Christ-centered community ................................................................................. 19
 Table 9 Core theme #4: local and global engagement ............................................................................                      22
 Table 10 Student satisfaction levels with disability services ............ ,......................................................... 35
 Table 11 GFU athletic team participation 2009-2012 ................................................................................. 37
 Table 12 Faculty evaluation schedule ............................................. ,................ ,.... ,................... ,.... ,........... , 50


 George Fox University




EXHIBIT T                                                                                                                                                     36
       Case 6:21-cv-00474-AA                             Document 50-19                      Filed 08/06/21                  Page 37 of 71




  Table 13 Traditional undergraduate graduates by major: 2006-2011 ...................................................... 52
  Table 14 Graduate and adult degree program graduates: 2006-2011.. ..................................................... 53
  Table 15 General education program goals and student learning outcomes ............................................ 61
  Table 16 Alignment of LEAP ELOwith essential learning outcome elements & GFU outcomes ................ 63
  Table 17 Graduate program information ....................................................................................................            65
  Table 18 Graduate program performance requirements .........................................................................                          67
  Table 19: ARC usage data ............................................................................................................................ 72
  Table 20: ASP cohort persistence rates .................................................................................................              73
  Table 21 ACHA-NCHA survey Serve data ..................................................................................................               80



                                                                    List of Figures



  Figure 1 Student perceptions of the community accountability process ............................................ 34
  Figure 2 Attendance for first-year and senior students at campus events/activities        ......................... 39
  Figure 3 Curriculum approval flowchart ....................... .'....................................................................                   56
  Figure 4 Student life programs and services ........................................................................................                    79
  Figure 5 NSSEdata: level to which GFU experience enhanced understanding of people of other racial and
  ethnic backgrounds .................................................................................................................................... , 80
  Figure 6 Number of students living on campus since 1995 ............................ ,.......................................... 81
  Figure 7 Program status in TracDat {2/27/14) ............................................................................................. 104
  Figure 8 TracDat Example .............................................................................................................................. 107




  George Fox University                                                        iii




EXHIBIT T                                                                                                                                                        37
      Case 6:21-cv-00474-AA          Document 50-19          Filed 08/06/21      Page 38 of 71




                                            Appendices
 Appendix A:

          Executive summary of eligibility requirements 4 through 21.
 #4 Operational Focus and Independence: George Fox University's programs and services are
 solely concerned with providing students education that leads to post secondary degrees. We
 offer the following undergraduate and graduate degrees: BA, BS, BSW, BSAT, MA, MAT, MATS,
 MBA, MDiv, Med, EdS, EdD, OBA, DMin, DMGT and PsyD. The University is structured in ways
 that allow it to design and deliver undergraduate and graduate education that meet the
 Commission's standards and eligibility requirements. George Fox was founded as an
 educational institution and remains so, not operating any other sorts of businesses.

 #5 Non-Discrimination: George Fox University is a Christ-centered university. Our Quaker
 heritage and Christian values and commitments are foremost in guiding our decisions and
 programs. We respect the dignity of each person and operate in a non-discriminatory way. Our
 student handbook includes an "anti-discrimination" policy. The policy states:

 Discrimination or harassment due to race, color, sex, sexual orientation, marital status, religion,
 creed, age, national origin, citizenship status, workers' compensation status, physical or mental
 disability, veteran status, or any other status protected under applicable local, state, or federal
 law; or any other distinguishing characteristic protected by non-discrimination law, is
 prohibited.

 #6 Institutional Integrity: George Fox University is a Christ-centered university, and its Christian
 mission and Quaker heritage guide its interaction with its constituents and with the public. The
 university operates in an ethical manner consistent with its Christian mission and has policies
 and procedures in place to protect individual rights.

 #7 Governing Board: George Fox University is an independent university founded in 1891 by
 what has become Northwest Yearly Meeting of Friends Church. A 42-member board governs
 the university. The Board of Trustees is responsible for monitoring the quality and integrity of
 the institution to ensure that the university's mission and associated core themes are being
 achieved. The general superintendent of Northwest Yearly Meeting of Friends and the chair of
 the board of regents of George Fox Evangelical Seminary also serve on the board. The university
 employs no member of the board, nor has any financial interest.

 #8 Chief Executive Officer: President Robin Baker serves as the Chief Executive Officer of the
 university and the official adviser to the Chair of the Board of Trustees and its Executive
 Committee. The president, as educational and administrative head of the university, exercises
 general superintendence over all the affairs of the institution. The president serves as an ex
 officio member of the Board without a vote.

 #9 Administration: !n addition to our Chief Executive Officer, our senior administrative
 leadership is comprised of the vice presidents team (VP Team). The VP Team provides counsel


 George Fox University Appendix/\            110



EXHIBIT T                                                                                               38
    Case 6:21-cv-00474-AA   Document 50-19   Filed 08/06/21   Page 39 of 71




                  Exhibit C



EXHIBIT T                                                                     39
      Case 6:21-cv-00474-AA               Document 50-19                 Filed 08/06/21                 Page 40 of 71



                     Secretary of State                                     2014 ANNUAL REPORT
                     Corporation Division
                                                                            Registry Number: 069130-16
                     255 Capitol Street NE, Suite 151
                     Salem, OR 97310-1327                                   Date of Incorporation: 06/28/1962
                                                                            Fee: $50.00
                     Phone (503)986-2200
                                                                            Due Date: 06/28/2014
                     www.filinginoregon.com
                                                                            Type: DOMESTIC NONPROFIT CORPORATION



        0269
       GEORGE FOX UNIVERSITY
       FINANCE DEPT
       414 N MERIDIAN ST
       NEWBERG OR 97132
                                                                                             JUNO2 2014
Name of Domestic Nonprofit Corporation                                                          OREGON
GEORGE FOX UNIVERSITY                                                                  SECRETARYOF STATE


Jurisdiction: OREGON                                                        Nonprofit Type: Public Benefit

 The following information is required by statute. Please complete the entire form. If any of the information is incorrect,
 you can make changes on this form. Failure to submit this Annual Report and fee by the due date may result in
 inactivation on our records.
Registered Agent
ROBIN E BAKER                                                            If the Registered Agent has changed, the new Agent
414 N MERIDIAN                                                           has consented to the appointment. Oregon street address
NEWBERG OR 97132                                                         required.


1) Type of Business
                                                    .   ···---····----           ····-··   ---··-~·--     ·---
2) Prlncipal Place of Business     (Str. address,city,slate,zip)          3) Mailing Address (Address,city,slate,zip)

414 N MERIDIAN ST
NEWBERG OR 97132                                                           FINANCE DEPT
                                                                           414 N MERIDIAN ST
                                                                           NEWBERG OR 97132



4) President Name and Address                                              5) Secretary Name and Address
ROBIN E BAKER                                                              DAVID WOOLSEY
414 N MERIDIAN ST                                                          414 MERIDIAN ST.
NEWBERG OR 97132                                                           NEWBERG OR 97132




                                                                              GEORGE FOX UNIVERSITY



                                                                                      l
                                                                          Illml1111111111111
                                                                           6913016-15243652
Make check payable to "Corporation Division" and m .... v ...... ,,, ...... - ·-·· ........ .--r··•··· ..
                                                                                                          RENANA

Corporation Division, 255 Capitol ST NE Suite 151, Salem, OR 97310-1327.
Note: You can also fax to (503) 378-4381. Filing fees may be paid with VISA or MasterCard. Submit the card number
and expiration date on a separate page for your protection.
                                                                                               ANRPF1 05/09/14
EXHIBIT T                                                                                                               40
                 Case 6:21-cv-00474-AA                 Document 50-19                       Filed 08/06/21              Page 41 of 71

                                                OHl:GONSl:CHETARY0~ S!AlE

             HOME.                              ► CorporaVion                            Oivision
                     businel5s information center                      L}-)iJ.: ,.0,':;/.I., 1. ~       ore-~1onbusiness guide ·
                        referral list              busl11ess registrytnme1.•,altor,rn,.itee::. notary public
               uniform t:omrnerclal code             uniform corwnerdat coiJe seHrc:h      documents & data services



                                                                                                                                               08-28-2014
 New Search            Printer    Friendly               Business Entity Data                                                                              18:00
                        Entity          Entity
                                                       Jurisdiction
                        I¥P..e.         Status
  069130-16              DNP             ACT             OREGON                             06-28-1962             06-28-2015
                      GEORGE FOX U~IVERSITY



                      PCBLIC BENEFIT




 :\lew Seardt          Printer Friendly                  Associated Names
                      PRI>lClPAL PLACE OF
               PPB
                    BUSINESS
               414 N MERIDIAN ST
                                        . ~--


               NEWRERG             IOR 197132            I                    l ..                  ]UNITED STATES OF AMERICA .

Please click -here f'or general information about registered agents and service a/process.
           j
                                                              ,,
                                                                     06-03-
             AGT REGISTERED AGENT                                    2008
               ROBJ>I                           IE jBAKER                               I           I
               414 N MERIDIAN

               NEWBERG             jOR 197132            I                    I                     jUNITEp STATES OFAMERICA
      ....

               MALjMAILlNG AD6RESS                            ..   I   . .                                         ..   I           ..   ~~-   ....


               FINANCE DEPT
               414 N YlERIDIA!\ ST
               NEWBERG             IOR 197132            !                    'I            · ·., iU"'ITED STATES OF A\1ERICA

               PRE !PRESIDENT                                      I                                                    l                             I
               ROBI?--!       . IE jBAKER                                              l            I
               414 >I MERIDIAN ST
         EXHIBIT T                                                                                                                                    41
                               Case 6:21-cv-00474-AA    Document 50-19       Filed 08/06/21          Page 42 of 71

                             jXEW13ERG     IOR 197132                          !UNITED STATES OF AMERICA

                             SEC !SECRETARY                   I                                  I                   I
                             DAVID           I        !WOOLSEY           I     I
                             414 MERIDIAN ST


                             NEWBERG       IORj97132 I            I          · -·IU~ITED STATES OF AMERICA




    !\'cw Search                   Printer Friendly       Name History
                                                                                ~ame'     ~.

                                                                                   I¥p_e · Status
GEORGE FOX G~IVERSITY                                                               E)J        CCR     06-24-1996
GEORGE FOX COLLEGE                                                                  EX         PRE     06-28-1962 06-24-1996


Please read before ordering Copies.
    l\cw Search                    Printer Friendly       SumtnaryHistory
!                                                                            Status ·
                              A\1E;'J"Dl:::D
                                           A:\NUAL
                                                     06-02-2014                FI
          '                   REPORT
      .~.·· ':{"<,
                             AME~DED AN!\UAL
           .. _{.,"                                  06-26-2013                Fl
                              REPORT
                    :.·-,1   AMENDED ANNUAL
                     ·,                              06-06-2012                FI
                              REPORT
          /'.       ;:-...   AMENDED ANNL'AL
      ;
      ' .. .
                .
                                                     06-02-2011                F!
                              REPORT
      /;· ·,:\               !AMENDED Al'<NUAL
      1-iJ)                  REPORT
                                                     06-03-2010                FI
                             A\tlE'.'JDED A\~ 1lJAL.
                                                     06-01-2009                Ff
                              REPORT
                             AMENDED ANI\.UAL.
                                                     06-03-2008                FI              Agent
                             REPORT
                             lAMNDMTTO
                             ANNCAL RPT/INFO         07-10-2007                FI
                             STATEMEXT
                             ANNUAL REPORT           06-18-2007                Fl

                            ANNUAL REPORT                   05-19-
                                               05-22-2006                     SYS
                            PAYME1\T                         2006
                            AMNDMTTO
                            AN~UAL RPT/IT\FO · 05-25-2005 ·                    FI
                            STATEME'.\JT
                            ANNLAL REPORT                   05-20-
                          EXHIBIT T            05-23-2005                     SYS                                        42
    Case 6:21-cv-00474-AA   Document 50-19   Filed 08/06/21   Page 43 of 71




                 Exhibit D


EXHIBIT T                                                                     43
       Case 6:21-cv-00474-AA           Document 50-19         Filed 08/06/21      Page 44 of 71




                           BYLAWS OF GEORGE FOX U~TVERSITY
                           AS AVIENDED BY BOARD OF TRUSTEES



                                             ARTICLE I
                                          IDl<~NTIFICA
                                                     TIO~

  Section 1.      i\aim:

  The name of this corporation is George Fox University (hereinafter referred to as the
  "C n iversi ty").

  Hist:      Amended 2/96

  Sccti01J.2:., Corporate Seal


                                   The Corporate seal of'thc L'niversity shall be circular inform and
                                   mounted upon a paper. About the periphery of the seal shall
                                   appear the words, "GEORGE FOX CNIVERSITY."




  Hist:      Amended 2196

  Sc_nion 3.      Fiscal Year

  The fiscal year of the Lnivcrsity shall begin on the first day of July in each year and end on the
  !ast day of June in the following year.

  I fist:    Adopted J2/80; amended 2/91: amended 2/96


                                         ARTICLE Tl
                             PURPOSES OF THE BOARD OF TRUSTEES

  The Hoard of Directors (hereinafter referred to as the "Board of Trustees" or the "Board") shall
  have the following purposes:




  1-        13ylaws of George Fox University
            as amended by the Board of Trustees
EXHIBIT T                                                                                               44
      Case 6:21-cv-00474-AA          Document 50-19         Filed 08/06/21       Page 45 of 71




        1.      Assure that the University has a clear sense of its Christ-centered mission and a
                strategic plan to maintain it
                a. Take responsibility to develop the mission and plan
                b. Monitor implementation of lhe mission and plan.
        2.      Appoint, support, and monitor the President
                a. Assure the financial integrity of the University
                b. Assure enrollment goals
                c. Assure the quality of all university programs
        3.      Be responsible for Board development
                a. Board orientation
                b. On-going I3oard education
                c. Recruitment of new Board members
                d. Trnin future Hoard leadership
                e. Regularly evaluate the Board

 Hist: Amended 3/04


                                           ARTICLE III
                          PO\VERS OF THE BOARD OF TRLSTEES

 The Hoard shall have the power to manage the property and business of the University and shall
 have lhe power to carry out any other fi.mctions that arc authorized under Oregon's l\onprofit
 Corporation Law or are permitted by the Articles of Incorporation, or these 13ylaws, except
 insofar as such puwers may be limited by law. These powers shall include, but nol be limited to
 the follov,:ing:

 a.     J\ppoint or remove the Officers of the Lnivcrsity, indu<ling the President of the
        University, the Vit.:cPresident for Financial Affairs and Treasurer of the Univer·sity, and
        the President's other immediate subordinates in accordance with these Bylaws. The
        power to appoint or remove lhc Vit.:cPresident for Financial Affairs and Treasurer of the
        Cniversity and the President's other immediate subordinates may, in the discretion of the
        Board, be delegated to the President of the University;

 b.     Award Academic Degrees upon recommendation of the faculty and of the Academic
        Affairs Committee of the Board; award honorary degrees upon recommendation of the
        Executive Committee of the Hoard;

 c.     Establish and review the educational programs of the University and establish the
        academic standards to be observed by the Cniversity;

 d.     Establish annually the budget of the University, 1,,vhichshall be submitted to it upon
        recommendation of the Property and rinancc Committee;

 e.     Establish the salaries of the President, professors and other administrators and employees
        of the Gniversity;



 2-   Bylaws of George Fox University
      as amended by the Board of Trustees
EXHIBIT T                                                                                             45
       Case 6:21-cv-00474-AA           Document 50-19         Filed 08/06/21       Page 46 of 71




  f.       Authorize the construction of new buildings and major renovations of existing buildings;

  g.       Authorize the sale and purchase of land, buildings, or major equipment for the use of the
           University;

  h.       Institute and promote major fund raising efforts of the University;

  i.       Authorize any changes in tuition and fees within the University;

  J.       Authorize Officers or agents of the Cniversity to accept gifts for the University;

  k.       Authorize the incurring of debts by the University and securing thereof by mortgage and
           pledge of real and personal property, tangible and intangible;

  1.       Retain custody of the books, records, buildings and other property of the University;

  m.       Prescribe the discipline to be observed in the Cniversity and establish the spiritual and
           social standards to be observed by the entire University community.

  Hist:    Adopted 12/80; amended 12/83; amended 2/96; amended 3/04


                                         ARTICLE IV
                                  MEMBERSHIP OF THE BOARD

  Section I.     Composition of the Board

  a.       The Board of Trustees shall consist of not more than forty-two members, and ex officio,
           the President of the University, the General Superintendent ofl\'orthwcst Yearly Meeting
           of Friends Church (hereinafter also referred to as ":'\WYMFC"), and the Chair of the
           Board of Regents of Creorge Fox Evangelical Seminary.

  b.       At least four-sevenths of the members of the Board shall be members of good standing of
           the Friends Church and of these, at least two-thirds shall be members of NWYMFC

  c.       No person shall be eligible for election prior to attaining the age of 18 years, nor shall any
           Trustee be elected to serve a term commencing after the Trustee has attained the age of
           75 years.

  d.       A Trustee shall become an Honorary Trustee at the expiration of the term of office after
           reaching age 75, if at that time the Trustee has served for nine years or more. Honorary
           Trustees shall be entitled to recci vc notices of all meetings of the Board, to attend and
           speak at all such meetings, to receive minutes of all meetings of the Board and Executive
           Committee, and to be members of all committees except the Executive Committee. They
           shall have the power to vote in meetings of any committee on which they may serve, but



  3-      Bylaws of George Fox University
          us amended by the Board of Trustees
EXHIBIT T                                                                                               46
       Case 6:21-cv-00474-AA            Document 50-19        Filed 08/06/21      Page 47 of 71




            shall not have voting powers in meetings of the Board of Trustees. An l-1011ora1y
                                                                                            Trnstcc
            shall not be counted as a member of the Uoard of Trustees for any purpose,

  e.        The General Superintendent of:\ WYYIFC and the Chair of the Board of Regents of
            George Fox Evangelical Seminary shall be voting members of the Board and any
            committees on which they serve. They shall he counted as the forty-third and forty-
            fourth members of the Board for purposes of voling, but shall not be counted among the
            ft)tty-two members of the Roa rd when computing the number of Friends on the Board.
            The President of the L'nivcrsily shall be an ex officio member of the Board without
            power to vote and shall not he counted as a member of the Board or any committee for
            any purpose.

 f.         No person directly employed by the University, with the exception of the President of the
            University, shall serve on the Board during such employment.

 Hist:      Amended 2/96; amended 3/04

 Section 2.      Election

 a.         At each annual meeting of NWYMFC, not more than fourteen trustees shall be elected
            for a three-year term by -:-,.JWY
                                            M FC. Of the not more than fou11ecn members of the board
            to be elected annually, not more than eleven shall be nominated by the Board of the
            University, not more than two by the Alumni Association of the lJniversity, and not more
            than one by the George Fox Evangelical Seminary Board of Regents, all afler having
            been reviewed and approved by the Committee on Trustees. All nominations to fill
            vacancies shall be approved by the >l'WYMFC.

 b.         Trustees shall serve for three-year terms commencing September 1 of the year of
            appointment and shall serve until their successors arc elected and qualified and may
            succeed themselves in office.

 c.         Any member of the Board of Trustees may be removed from office, for cause, by
            NWYMFC.

 Jlist.    Adopted 12/80, amended 5/85; amended 2/94; amended 2/96; amended 3/04


                                              ARTICLE V
                                    MEETINGS OF THE BOARD

 Section 1.      Regular and Special :V1eetings

 a.        Regular meetings of the Board shall be held annually the third Saturday of October
           (sometimes referred to herein as the "annual Meeting"), and the second Saturday in
           March (sometimes referred to herein as the "Semiannual Meeting") or on such other date
           and at such other time as set forth in written notice given to each board member. The



 4-       Bylav,·s of George Fox University
          as amended by the 13oard of Trustees
EXHIBIT T                                                                                               47
       Case 6:21-cv-00474-AA             Document 50-19          Filed 08/06/21       Page 48 of 71




             Board may provide, by resolution, the time and place, cirher within or without the State
             of Oregon, for the holding of additional regular meetings without other notice than the
             resolution.

 b.          Special meetings of the Board ofTmstces may be called at any time by the chair, upon
             ten ( 10) davs notice. Notice of any special meeting shall be in writing and may be
             personally delivered, sent by facsimile, or by electronic mail, or mailed by first class
             mail. The notice is deemed to be properly given on the date it is actually delivered or
             sent by facsimile or electronic mail, or if mailed, when c.kposited in the t:nitcd States
             mail, addressed to the trustee. The notice shall specify the purpose of the meeting, and
             no business shall be transacted at such meeting that does not relate to the purposes stated.

 c.          Whenever notice is required to be given under the provisions of statutes or of the Articles
             orincorporation or of these Ry laws, a waiver thereof in writing signed by the persons
             entitled to said notice, whether befrirc or after the time stated therein, shall be deemed
             equivalent thereto. Attrndance at any meeting by a Trustee shall be conclusively deemed
             a waiver of notice of that meeting unless objection be made thereto at such meeting

 d.          A majority of the Trustees shall be necessary and sufficient to comtitute a quorum for the
             transaction of business, and the act of a majority of the Trustees present and voting at a
             duly called meeting of the Board or any committee shall be the act of the Board of
             Trustees or that committee, except as may be provided by statute or by the Articles of
             Incorporation, or by these Bylaws.

 c.          All regular and 1,pt:cial meetings of the Board shall be held at the University unless
             otherwise indicated in the authorized notice.

  I list:    A mended 2/96. amended 9/9 7; amended 2/01; amended 3/04

  Section 2.       Action Without a Meeting

  Any action required or perinitted to be taken by the Board of Trustees or a committee may be
  taken without a meeting if all the trustees or committee members take the action, each one signs
  a written consent describing the action taken, and the consents arc filed with the records of the
  corporation. Action taken by consent is effective when the last trustee or committee member
  signs the consent, unless the consent specifies a different effective date. A signed consent has
  the effect of a meeting vote and may be so described in any document.

  !list:     Adopted 12/80; amended 5/85; amended 4/87; amended 2/94; amended 2/01


                                              ARTICLE Vl
                                         STATEMENT OF FAITH

  J\11 nominees for Trustees shall be in harmony with the Constitution and Discipline of
  NWYMFC and its statement of faith, in essence as follows




  5-        Bylaws of George Fox University
            as amended by the Board of Trustees
EXHIBIT T                                                                                                   48
       Case 6:21-cv-00474-AA          Document 50-19         Filed 08/06/21      Page 49 of 71




  a.     The Trinity. We believe in one eternal God, the source and goal of life, who exists as
         three persons in the Trinity - the father, the Son, and the Holy Spirit. In love and joy,
         God creates and sustains the universe, including humanity, male and female, who arc
         made in God's image.

 b.      God the Father. We believe in Ciod the Father Almighty, whose love is the foundation of
         salvation and righteous judgment, and who calls us into covenant relationship with God
         and with one another.

 c.      God the Son. We believe in Jesus Christ, the Word, who is fully God and fully human.
         He came show us God and perfect humanity, and, through his life, death, and
         resurrection, to reconcile us to God. ! le is now actively present with us as Savior,
         Teacher, Lord, Healer, and Friend.

 d.      God the lloly Spirit. We believe in the Holy Spirit, who breathed God's message into the
         prophets and apostles, opens our eyes to God's Truth in Jesus Christ, empowers us for
         holy living, and carries on in us thL:work of salvation.

 c.      Salvation. We believe that salvation comes through Jesus Christ alone, to whom we must
         respond with repentance, failh, and obedience. Through Christ we come into a right
         relationship with God, our sins are forgiven, and we receive eternal life.

 f.      The Bible. We believe that God inspir·cd the Bible and has given it to us as the uniqllcly
         authoritative, written guide for Christian living and thinking. As illumined by the lloly
         Spirit, the Scriptures arc true and reliable. They point us to God, guide our lives, and
         nurture us toward spiritual maturity.

 g.      The Christian Life. We believe that God has called us to be and to make disciples of
         Jesus Christ to be God's agents of love and reconciliation in the \Vorld. In keeping with
         the teaching of Jesus, we work to oppose violence and \var, and we seek peace and justice
         in human relationships and social structures.

 h.      The Church. We believe in the Church as the people of God, composed of all who believe
         in Jesus Christ, who support and equip each other through worship, tcad1ing, and
         accountability, who model God's loving community, .and who proclaim the gospel to the
         world,

 1.      Christian Worship. We believe Christ is present as we gather in His name, seeking to
         worship in spirit and in truth. A 11believers arc joined in the one Rody of Christ, arc
         baptized by the Spirit, and live in Christ's abiding presence. Christian baptism and
         communion arc spiritual realities, and, as Christians from many faith traditions, we
         celebrate these in different ways.

 J.      The Future. We believe in the personal return of Jesus Christ, in the resurrection oflhe
         dead, in God's judgment of all persons with perfect justice and mercy, and in eternal




 6-    Bylaws of George fox L:nivcrsity
       as amended by the Board of Trustees
EXHIBIT T                                                                                             49
       Case 6:21-cv-00474-AA               Document 50-19        Filed 08/06/21       Page 50 of 71




             reward and punishment. Ultimately, Christ's Kingdom will be victorious over all evil,
             and the faithful will reign with him in eternal life.

 Ilist:      Adopted 12/80; amended 6189; amended 9/00; amended 3/04


                                                ARTICLE VII
                                          OFFICERS OF THE BOARD

  Section I.      Officers of the Board of Trustees

 The Officers shall be the Chair, Vice Chair, and Secretary of the Board of'Trustccs. The Board
 may appoint an Assistant Secretary who is not a member of the Board, lo assist the Secretary. All
 Officers shall be appointed by the Trusti.:CS.

  ! list:    A mended 3/04

 -~c,:_ction
          2.       Election of Officers

  a,         At the Annual meeting, the Board shall elect by ballot from the Committee on Trustees'
             recommendations or from nominations from the floor, a Chair, Vice Chair, and Secretary
             to serve as officers of the Board for one year or until their successors shall have been
             elected.

  b.         The Chair of the Board shall serve no more than five (5) consecutivl'. years in office.
             Other officers shall serve such terms as may be determined by the Board of Trustees.

  c.         In the event of a vacancy in the office of the President, the 13oard shall appoint a special
             Presidential Search Committee to submit nominations of candidates for that office.

  d.         A vacancy in any of the offices of the Board may be fillc<lat any meeting of the Board of
             Trustees.

  !list:     Amended 3/04

  Section_3.       Powers and Duties of the Chair of the Boar<l of Trustees

  The Chair of the Board shall:

  a.         Preside at all meetings of the Board of Trustees; have a rigbt to vote on all questions;
             appoint to all comrnitti;:cs the members who arc not appointed by the Hoard of Trnstees;
             and have such other powers and duties as the Board from time to time may prescribe.

  b.         J\ct as agent of the University to sign on behalf of the Cniversity instruments authorized
             by the Board, if the signature of the Chair is required by the Board or outside regulatoiy
             authorities.




  7-        Bylaws of George Fox Cnivcrsity
            as amended by the Roard ol'Trustees
EXHIBIT T                                                                                                   50
      Case 6:21-cv-00474-AA            Document 50-19          Filed 08/06/21      Page 51 of 71




 c.        Maintain cooperation between the President of the Cni versity and the Board.

 d.        Serve as Chair of the Executive Committee and he ex officio member of all committees.

 Hist:     Amended 2196; amended 3/04

 Section 4-., Powers and Duties of the Vice Chair

 a.        In the absence of the Chair, the Vice Chair sball perform the duties of the Chair.

 b.        The Vice Chair also shall perform such other duties as the Chair shall assign .

 .S.~_,Jjgn5.   Powers and Duties of the Secretary

 The Secretary shall keep a full and complete record of all proceedings of the Board, shall send
 promptly to each Board member a copy of lhe minutes of each meeting of the Board, and shall
 give notice of meetings to be held or order the same to be done. The Assistant Secretary, if
 named, is empowered to sign any and all documents requiring the signature of the Secretary if
 the Secretary is not available to provide such signature.

 Hist.    Adopted 12/80, amended 2/94, amended 3/01


                                            ARTICLE VJII
                                  COi\J.\1I1TEES OF THI~ BOARD

 Section I.       Organization   of Committees

 a.       The Board shall establish the following standing committees:

          1.      Program and Personnel Committee
          2.      External Affairs CommitteL:
          3.      Property and Finance Committee
          4.      Cornm1ttec on Trustees
          S.      Executive Cornmitlcc

 h.       The Chair and members of all standing committees shall be members of the Hoard
          ( including Honorary Trustees) in order to be eligible.

 c.       Each standing committee shall consist of a Chair, at least three elected members, and ex
          officio the President of the University and the Chair of the Doard. A record of the actions
          of each committee shal I be kept and reported to the JJoard for approval at its next regular
          meeting. Proposed action involving changes of policy shall receive approval by the
          Board prior to implementation .. Each standing committee may establish one or more
          subcommittees.




 8-      Bylaws of George Fox University
         as amended by the Board or Trustees
EXHIBIT T                                                                                                51
       Case 6:21-cv-00474-AA           Document 50-19         Filed 08/06/21        Page 52 of 71




 d.        For all standing committees, a quorum shall consist of a majority of the members.

 c.        The Board of Trustees may at any time establish or discontinue any standing committee
           for such time as may be detr:nnined; the duties of any committee so discontinued shall be
           performed during such discontinuance by the Executive Committee.

 f         The President of the Cniversity may appoint a member of the administrative    staff to serve
           as a liaison betwern a committee and the office of the President. Such liaison person shall
           assist the committee in carrying out of its duties.

 g.        All standing committees shall meet at least l\\io times annually.

       h. There may be such special or ad hoc committees as the Roard of Trustees may from time
          to time establish for the discharge of particular duties. The Chair of the Board shall
          appoint special or ad hoc committees and shall inform them        or
                                                                            their charges and terms of
          service. When the Roard deems it appropriate, non-trustees may be appointed as
          members of special or ad hoc committees.

 !list:    Amended 2/96; amended ]/()4

  Section 2.     Powers and Duties of the Program and Personnel Committee ("PPC")

  a.       The PPC shall have fifteen members.     It will monitor and oversee all university programs
           and the pernonncl that provide these programs ..

  b.       The PPC will approve all new academic programs for recommendation          to the Board of
           Trustees.

  c.       PPC will approve all recommendations     for faculty promotion and tenure.

           1.      A sub-group of not less than 4 committee members will interview each candidate
                   for faculty tenure for recommendation to PPC.
           2.      Recommendations for faculty promotion in rank will be received with written
                   documentation.

  d.       The PPC will monitor the university's   lifestyle requirements   and receive
           recommendations for change.

  e.       All university programs (academic and student life) will be reviewed at least eve1y 5
           years for quality and "tit" with the university mission. Issues of program size, adequacy
           of financial support, program expenses, and cffccti vcncss will be considered in the
           review.

  f.       PPC will set:k to advance the racial and ethnic diversity of the Lnivcrsity community and
           will supervise the implementation of the Blueprint for Diversity.




  9-      Bylaws of George Fox University
          as amended by tile Hoard of Trustees
EXHIBIT T                                                                                                 52
      Case 6:21-cv-00474-AA           Document 50-19         Filed 08/06/21       Page 53 of 71




 g.      PPC will monitor the spiritual, social, hrnlth and athletic life of the student body.

 h.      PPC will seek to advance the religious life of the Lniversity community, keeping in view
         the global integration of Christ-centered faith, learning and service.

 1.      PPC will monitor the effectiveness oflnstitutional Technology (lT), intercollegiate
         athletics, and Tilikum.

 Hist:   Amended 2/96, amended 3/04

 Scct(g1_1_l Powc.:rsand Duties of the Exkrnal Affairs Committee ('TAC")

 a.      The LAC shall have fifteen membern, and will focus its attention on the external
         constituencies of the University, including marketing and positioning the University.

 b.      The EAC will monitor and oversee enrollment, Lncluding

         1. Approving enrollment goals for traditional undergraduate, Derart111entof Professional
         Studies, and graduate departments.

         2. Establishing and monitoring strategics for achieving enrollment goals.

 c.      The EAC will consider and recommend to the I3oard requests for capital improvements,
         including new buildings, equipment and capital campaigns.

 d.      EAC will monitor anu oversee all advancement functions of the University, including
         fundraising, planned giving, deferred gilts and trust administration.

 c.      The EAC will review and approve the University's marketing plan annually.

 r       The EAC will review the effectiveness and assure quality of external relations efforts,
         including University publications, Alumni, church and community rclntions.

 Hist.   Amended 2/96; amended 3/04

 Section 4.    Pov.us and Duties of the Property and Finance Committee ("PFC")

 a.      The PFC shall consist often members. Its primary duty is to monttor and assure the
         financial integrity of the University,

 b.      The PFC will propose to the board a preliminary budget for the following fiscal year at
         the spring (March) meeting of the Board of Trustees. The final budget will be
         recommended to the Board for approval at the fall (October) meeting.

 c.      The PFC will provide for an annual audit of university finances by an external auditor. A
         written report of the financial condttion of the university will be r·cccivcd and considered
         as soon as possible after the close of the fiscal year (June 30).



 10 - Bylaws of George Fox University
      as amended by the Board of Trustees
EXHIBIT T                                                                                               53
       Case 6:21-cv-00474-AA         Document 50-19         Filed 08/06/21      Page 54 of 71




  d.      The PFC will consider and recommend to the Board and/or Executive Committee
          annuities and life-income arrangements.

  c.      l\ot lcss frequently than every three years the Committee will receive and review a report
          on the condition of all buildings owned and operated by the University and report to the
          Board the condition oftbe same. It shall recommend such changes and improvements as
          in its judgment should be made to keep lhc buildings in good condition.

  r.      The PFC will establish a group of not less than 5 trustees to invest university funds within
          the guidelines of the investment policy established by the Board of Trustees.
                              1. This group may employ investment council and may delegate
                                  authority to purchase and sell securities for the university to such
                                  investment council, to any university administrator, or to the GFES
                                  Board of Regents subject to such 1imitations as the committee may
                                  impose.
                              2. This group will rerort lo the PFC and the Roard of Trustees at each
                                  meeting on the George Fox University investment status. It will
                                  provide investment information for PFC at PFC's request.

  g.      The PFC will monitor and oversee the Cniversity's financial aid expense.

  Hist:   Amended 2/96, amended 3/04

  Section ...i   Powers and Duties of the Committee on Trnstees ("COT")

  a.      The COT shall have six members, including the Chair ..

  b.      The COT will be responsible for recruitment of new board members, board orientation,
          and evaluation of the board.

  c.      COT will develop and maintain
          I.   Criteria for board membership
          2.   A board handbook
          3.   A proper demographic, gender ratio, vocational and ethnic distribution of board
               members.

  d.       Provide in-service board education.

  c.      Anticipate future board leadership.

  f.       Recommend board appointments and reappointments to the board and to the >lorthwcst
           Yearly :viecting of Friends.

  g.       Evaluate Board Structure every three years.




  11 - Bylaws of George Fox Lnivcrsity
       as amended by the 13oard of Trustees
EXHIBIT T                                                                                              54
      Case 6:21-cv-00474-AA          Document 50-19          Filed 08/06/21      Page 55 of 71




 Hist. Amended 2/96; amended 3/04
 Scs:Jion 6. Powers and Duties of the Executive Committee

 a.      The Executive Committee shall be cornposeJ of the Chair, Vice Chair, and Secretary of
         the Board, the Chair of each standing committee, not more than three subcommittee
         chairs, two members at large, and the Superintendent of the ~orthwest Yearly Meeting of
         Friends Church. The Chair or the Board shall be the Chair of the Executive Cammi ttec.

 b.      The Executive Committee shall monitor the University's adherence to its Chnst-ccntcrcd
         mission and monitor the Gnivcrsity's planning process and implementation or the
         strategic plan adopted by the Board. It shall develop, in consultation with lhe President,
         agendas for meetings of the Board. Hctwccn meetings of the Board of Trustees, the
         Executive Committee shall act on behalf of the Board on all matters, except that it may
         not take any action inconsistent with a prior act of the Board of Trustees, alter bylav,•s.
         locate permanent buildings on tax-exempt property held for university purposes, remove
         or appoint the President of the University, or take any action that has been reserved by
         the Board.

 c.      The Executive Committee shall meet every other month, or at the call of the Chair of the
         Board. Special meetings also may be called by the Secretary on the \vrittcn request of at
         least three members orthe Executive Committee.

 d.      The minutes of the meetings of the Executive Committee shall be distributed promptly
         after each meeting to each member of the Board of Trustees. Al each meeting of the
         Board ofTrusti.:cs, the proceedings and actions taken by the Executive Committee since
         the last meeting of the Board shall be reported to the Board.

 c.      The Executive Committee shall recommend to the Board persons to rec:eivc honorary
         degrees and fac:ulty members and others to be given emeritus positions. The Executive
         Committee also shall recommend to the Board persons lo be recognized as Honorary
         Trustees but who do not meet the criteria of age and/or length of service stated in
         Article rr,Section 1, of these Bylaws.

 Hist:   Adopted 12/80; amended 5/83; amended 5/85; amended 12/92; amended 2/94, amended
         2/96; amended 2/98, amended I 0/02; amended 3/04

 Section 7,     Powers and Duties of the George Fox Evangclicnl Seminary Hoard of Regents

 a.      The George Fox Evangelical Seminary I3oard of Regents, consisting of not more than
         thirty-five members, will act in an advisory role to the Board of Trustees of George Fox
         University. The Board of Regents wi 11advise on the administration of the George Fox
         Evangelical Seminary endowment fund anJ those programs and staff Ihat are part of the
         George Fox Evangelical Seminary curriculum.

 b.      The 13oard of Regents shall serve at the discretion and pleasure of the Board of Trustees
         of George Fox University. Replacement members and subsequent appointments to the




 12 - Bylaws of George Fox University
      as amended by the 13oard of Trustees
EXHIBIT T                                                                                              55
        Case 6:21-cv-00474-AA           Document 50-19         Filed 08/06/21       Page 56 of 71




            Board of Regents shall be made by the Board of Trustees of George Fox University upon
            recommendation by thl! 13oardof Regents, with the review and approval ofthc
            Committee on Trustees.

 Hist.      Adopted 2/90; amended 3/04


                                           ARTICLE IX
                                  OFf'ICERS OF THE ff\lVERSITY

  Section 1.     Powers and Duties of the President of the University

  a.        The Prcsidenr of the University shall be the Chief Executive Officer of the University and
            the official adviser to the Chair of the Board of Trustees and its Executive Committee.
            The President, as educational and administrative head of the University, shall exercise a
            general superintendence over all the affairs of the institution, and bring such matters to
            the attention of the Board as an: appropriate to keep the Board fully infonncd to meet its
            pol icy-making responsibilities.

 b.         The President shall have power, on behalf of the Board, to perform all acts and execute
            all documents lo make effective the actions of the Board or its Executive Committee.

  c.        Except as otherwise provided in these bylaws, the President shall be ex officio a member
            of all committees of the Board, without power to vote.

  d.        The President shall make an annual report of the condition of the Lniversity to the Board
            and to 1\WYMFC.

  e.        The Prl!sidcnt shall issue all faculty contracts arrcr selection has been made using
            procedures as set forth in the Manual of Operation.

  I'.       The President shall annually give to the Board a review of any research performed, any
            papers published, or postgraduate srudy completed by members of the faculty.

  g.        In the event of absence from the campus, the President shall appoint an immediate
            subordinate to act on his or her behalf. Normally the Provost shall be so designated.

  / list:   Amended 2/'J6; amended 3/04

  Sect_i~ln-2 Powers and Duties of the Vice President for Financial Affairs and Treasurer of the
              l,'niversity.

  a.        The Vice President for Financial Affairs and Treasurer of the University shall be the
            Chief Financial Officer of the University and one of the President's immediate
            subordinates. The Vice President for Financial Affairs and Treasurer shall receive and
            have general charge of all the funds, seeurities, and valuables of the University, except




  13 - Bylaws of George Fox University
       as amended by the 13oard of Trustees
EXHIBIT T                                                                                                56
          Case 6:21-cv-00474-AA          Document 50-19         Filed 08/06/21      Page 57 of 71




            the endowment funds, which arc held and managed by the Investment Committee of the
            Board.

 h.         The Vice President for Financial Affairs and Treasurer shall payout 1noncy only upon the
            general or special authorization of the Board and/or Executive Committee, said
            authorization to be recorded in the minutes of the Board or Executive Committee. The
            Vice President for Financial Affairs and Treasurer shall keep full and complete annual
            accounting showing all of the assets of the University together with all receipts or
            disbursement of funds or properties received or paid out during the last preceding year
            and shall render a report thereof to the Board at each Annual meeting.

 c.         The Vice President for Financial Affairs and Treasurer shall give;:bond or bonds as shall
            be required by the Roard. Such bonds shall be executed in due form with sufficient and
            responsible securities, it being the intent of these bylaws to provide that the Vice
            President for Financial Affairs and Treasurer shall al all times give such bonds as shall be
            complete and unquestionable security for the money under his or her control.

 d.         Additional dutit::sand responsibilities of the Vice President for Financial Affairs and
            Treasurer shall be stated in the Faculty Handbook as specified in Section 4 of this article.

 !list.     Amended 2/96, amended 3/04

                   Powers and Duties of Other Officers of the University

 The President's other immediate subordinates shall be considered Officers of the Uni vcrsity in
 accordance with Article III(a) of these Bylaws. Duties and powers of these Officers, normally the
 Provost, the Vice President for Student Affairs and Dean of Students, and the Vice President for
 Marketing and 1\dvancement but regardless of title, shal I be stated in the Faculty Ilandbook as
 spcci fied in Section 4 of this article.

 !list.     Amended 2/96, amended 3104

 Section 4.      Duties of Cniversity Personnel

 The duties and privileges of lhe offices, administrators, faculty and employees of the University
 shall be given in handbooks or Faculty Handbook, edited by the Administration, and subject to
 the concurrence of the Board.

 Hist.·     Adopted I 2/80: amended I 2/f/3; amended 2/94; amended 2196: amended 3/04


                                             ARTICLE X
                                          INDEMNIFICATION

 Each Trustee and Officer of the University shall be indemnified by it against all expenses
 actually and necessarily incurred by such Trustee or Officer in connection with the defense of




 14 - l3ylaws of George Fox University
      as amended by the Board of Trustees
EXHIBIT T                                                                                                  57
      Case 6:21-cv-00474-AA            Document 50-19         Filed 08/06/21       Page 58 of 71




  any action, suit, or procci.:ding to which he or she has been made a party by reason of being or
  having been i;uch Trustee or Officer, except in relation to matters as to which such Trustee or
  Officer shall be adjudicated in such action, suit, or proceeding to be liable for gross negligence or
  willfi.11misconduct in the performance of duty.

  Hist:   Adopted 12/80; amended 2196; amended 3104


                                         ARTICLE XI
                                    CONFLICTS OF l:'iTEIU:ST

  A Trustee shall be considered to have a conflict of interest if': such Trustee has existing or
  potential financial or other interests which impair or might reasonably appear to impair such
  member's independent, unbiased judgmcnt in the discharge of responsibilities to the Cnivcrsity;
  or such Trustee is aware that a member of his or her family (which for purposes of this paragraph
  shall be spouse or child) or any organization in which such Trustee (or member of his or her
  family) is an officer, director, employee, member, pArtner, trnstee, or controlling stockholder, has
  such existing or potential financial intt:rcsts. All Trustees shall disclose. to the Hoard any possible
  conflict of interest at the earliest practicable time. No Tru!:ilCC shall vote on any matter, under
  consideration at a Board or committee meeting, in which such Trustee has a conflict of interest.
  The minutes of such meeting shall reflect that a disc.losure was made and that the Trustee having
  a conflict of interest abstained form voting. Any Trustee who is uncertain whether he or she has a
  conflict of interest in any matter may request the Board or Executive Committee to determine
  whether a conflict of interest exists, and the Board or Executive committee shall resolve the
  question by majority vote.

  Hist; Adopted 12/80; amended 2/Y6,· amended 3/04


                                       ARTICLE XII
                           REVIEW Al\"DAMENDMK'.\'TOF BYLAWS

  Section I.

  These Bylaws may he changed or amended at any meeting of the Board of' Trustees by a two-
  thirds vote of those present, provided notice of the substance of the proposed amendment is sent
  to all the Trustees at least ten days before the meeting.




 Prior to each Annual meeting of the Board of Trustees, the Executive Committee shall review
 these Bylaws and suggest any necessary changes thereto.

 Section 3.

 J\o change shall be made in thcsc Bylaws affecting the relationship with J\'orthwcst




  15 - Bylaws of George Fox t;nivcrsity
       as amended by the Board of Trustees
EXHIBIT T                                                                                                   58
      Case 6:21-cv-00474-AA           Document 50-19       Filed 08/06/21    Page 59 of 71




  Yearly Meeting of Friends Church without the consent of :-Jorthwcst Yearly Meeting of Friends
  Church.

  Hist:   Adopted 12180; amended 3/04


                                             ARTICLE XIH
                          REVIEW Al\D AMENDME:\T           OF BYLAWS

  All former bylav-'s arc hereby repealed.

  Hist:   Adopted 12/80; amended 2/94; amended 2/96; amended 3/04




 16 - Bylaws of George Fox University
      as amended by the Board of Trustees
EXHIBIT T                                                                                         59
    Case 6:21-cv-00474-AA   Document 50-19   Filed 08/06/21   Page 60 of 71




               Exhibit E



EXHIBIT T                                                                     60
        Case 6:21-cv-00474-AA               Document 50-19              Filed 08/06/21          Page 61 of 71


                   ENTERED

               APRl 1 2014
                                                                                                  FILED
        IN ~EGISTER SY KH
                                                                                              I~ APRI I PM12:18
                                                  FORM. 4

                          Il'i Tl![ CIRClHT C:OIJRT OF THE STATE OF OfU~GON
                                           For Mult11nmal1 Cou,ity




 In the Matter orthe Clrnnr,l· of Sex of:                 i ,            .l(b)(6); (b)(7(C)
                                                          I. Case i\Jr1._.._______                  ....,_.
                                                                                                        __

(b)(6); (b)(7(C)
                                                              GENERAL ,!UDGMENT OF SEX CHANGE
                                                          I

         Based on tht· l'etition, and the court finding that proper notice to intcrcslt:d p11rtieshus been gi\'tm;
thnt thr, ~bow-named per.rnn has undergone surgical, hormonal, or other trtiitment appropriate for thl~
person fur tht' purpose of gender transition; thnt sexual re11ssignmenthas been completed; and that no
person h11sshuwn c.lll~e why the requested Gcnernl Jmlgment should not be gr:inted,




from I I mnle to fcmak      IX]fcirrnlt- to male. Nollce ol' thi.~ kga! change shall he po,tcd in u public
 plucr in '1ultnonrnh County u~ required ll)' law.

           I I This per,rnn was burn in Oregon.   Th~ ~ex 011thr record uf live birth n1aintaincu by the Srate

 Registrar for the Ct:ntcr for Health Statistics must be chang1:d.

                                                                , 20   E_.
(b)(6); (b)(7(C)                                                            ,Judge

                                                                 ~l J!!:;AN
                                                                          M SVETK.c-.1


                                                                                                          TOBEATRUE
                                                                                                   CERTIFIED      COPY
                                                                                                   OF THEORJGINAL
                                                                                                                APR l l 2014




 22-U2C (()9/13) GENERAL .HIDGMK~T                   OF ~mxCHANGE --- FORM 4
EXHIBIT T                                                                                                            61
    Case 6:21-cv-00474-AA   Document 50-19   Filed 08/06/21   Page 62 of 71




                  Exhibit F




EXHIBIT T                                                                     62
    Case 6:21-cv-00474-AA                        Document 50-19                           Filed 08/06/21   Page 63 of 71



                                      ·114 ,·. i\.h:r:J,~n Sl., ?\!l·wl>t·:-g,   u~,971 L?
                                       ,m.s 1R.s1s1

    February 24, 2014

    ~ I!(b)(6); (b)(7(C) !
    George Fox University
    Box!(b)(6);       I
           6); I
    Dear!Cbl(

    Thanks for your conversations and requests regarding your housing placement as a
    transgender student. I appreciate the manner in which you approached the situation.

    I shared with you that we are limited in our on-campus housing and don't have housing
    options for married students, families, students who are pregnant and in their third
    trimester, those who are 23 or older, for some medical aspects that we can't
    accommodate, and possibly others. In these situations, we allow students to live off-
    campus.

    As we discussed, we were in the process of adding to our housing policy that we would
    house students by his/her biological birth sex. You said you wanted to live with males
    next year and I told you I would present this to !(bH6 E§K]                       !
                                                              Vice President for Student Life,
    and four members of the Board of Trustees. I also reiterated that I was unsure about the
    outcome and that I could not guarantee any changes.

    After a lengthy conversation with the Board of Trustees it was decided that the housing
    policy needs more time to be developed, and coincide with a theological and
    philosophical statement for the University. Although this was the case, I was given
    approval to make a decision on your behalf.

    After considering all aspects of your proposal I've decided to conditionally approve your
    request to live off-campus with male students for the 2014-15 school year. This
    arrangement may only be off-campus and is only a one-year exception; and it may change
    depending on the Board's development of a policy.

    If you desire to only live on-campus, we may be able to provide a single room for you,
    although we agreed this was not a good option (though we would certainly do our best to
    connect you with the larger community if you were in a single room).

    Outlined below are the further steps that will need to be completed in order to receive
    full approval to live off-campus with male students:

         l.   Legally change your name and gender, and provide copies of the following to me
              by June 1, 2014:
                  •       Driver's License




EXHIBIT T                                                                                                                  63
     Case 6:21-cv-00474-AA                       Document 50-19   Filed 08/06/21   Page 64 of 71




                •       Birth Certificate
                  Social Security Card
         2. The male students you will be living with must meet the criteria and be approved
            to live off-campus in 2014-15. Information can be found at the following link:
            http://www.gr:=!()rgefox. ed u/ offjc~s/student~life/residE!ri~~~IJfe/offca mpus.ht_l"D!-
         3. I will need to meet with your roommates and affirm they understand your story,
            are willing to live with you and that they have informed their parents about this
               living arr,rngement.
         4.    As with all students living on or off-campus, you and your roommates need to
               abide by al\ GFU lifestyle standards and policies.

    If all the above aspects are satisfactorily completed, then you will receive full approval to
    proceed with this living arrangement. Is June 1 a realistic due date to accomplish what
    I've asked above in #1? I'm open to discuss this timeframe, but want to make sure it
    doesn't get too far into the summer.

    I recognize this decision may be controversial to some people in our
    community. However, I think you've provided good rationale that caused us to
    reconsider the initial decision. Please let me know if you have any questions or
    concerns. I'm glad to meet with you at any point if that's helpful. Thank you for the way
    you approached this request and for your patience in the process.

    !(b)(6); ! I'm glad you're
                           at Fox and I want to continue to see you be successful here. Please
    let me know if there is any other way I can support or assist you in your journey.

    Sincerely,
       (b)(6); (b)(7(C)



    l(b)(6); (b)(7(C)     l
    Dean of Community Life

    CC: Student File
                    !
           !(b)(6 ""'(b..,.)(""6)'"';
                            ("""b)"""(7
                                 ....
                                  (C"")
                                      ________            _
            (b)(6); (b)(7(C)




EXHIBIT T                                                                                               64
       Case 6:21-cv-00474-AA             Document 50-19             Filed 08/06/21         Page 65 of 71


                               UNITED STATES DEPARTMENT OF EDUCATION                                             REGJONX
                                               OFFICE FOR CIVIL RIGHTS                                           ALASKA
                                                                                                                 AMERICAN SAMOA
                                                 915 2ND AVE., SUITE 3310                                        GL'AM
                                                 SEATTLE,WA 98174-1099                                           HAWAII
                                                                                                                 IDAHO
                                                March      9,    2015                                            MONTANA
                                                                                                                 NEVADA
                                                                                                                 NORTHERN MARIANA
                                                                                                                  ISLANDS
                                                                                                                 OREGON
 Mr. ~ !(b)(6); (b)(?(C) I                                                                                       WASHINGTON

 Davis, Wright, Tremaine, LLP
 1300 SW Fifth Avenue, Suite 2400
 Portland, Oregon 9720 l

 Re:     George Fox University
         OCR Reference No. 10142258

 Dear Mr. l<bJ(6J;(b)(?(cJ I

 The Office for Civil Rights (OCR) has completed its evaluation of your complaint No.
 10142258 against George Fox University (University), which was received on August 29,
 2014. In your complaint, you alleged that the university discriminated against a student,
 based on sex, by denying the student's request to live with other male students on campus.

 Your complaint raises the same allegation of discrimination raised in your previous
 complaint (No. 10132152). By letter dated July 1, 2014, OCR Seattle administratively
 closed that complaint based on the granting by OCR' s Assistant Secretary of a religious
 exemption under the Title IX regulations as applied to housing (34 C.F.R. §106.32),
 comparable facilities such as restrooms and locker rooms (34 C.F.R. §106.33), and athletics
 (34 C.F.R. §106.41). Accordingly, OCR is closing your new complaint No. 10142258 in
 accordance with its Case Processing Manual, Section 11O(k).

 However, in your new complaint No. 10142558, you assert that the University practices
 about which you complained are not based on the religious tenets of a controlling religious
 organization and thus are not appropriately exempt from Title IX. Accordingly, although
 your complaint has been closed, because you have challenged the religious exemption
 granted to the University, OCR Seattle has forwarded your complaint to the Assistant
 Secretary, who is responsible for addressing claims for religious exemption under Title IX.

 This letter sets forth OCR's determination in an individual OCR case. This letter is not
 a formal statement of OCR policy and should not be relied upon, cited, or construed as such.
 OCR's formal policy statements are approved by a duly authorized OCR official and made
 available to the public.




   The Department of Education's mission is to promote student achievement and preparation for global competitiveness
                             by fostering educational excellence and ensuring equal access.
EXHIBIT T                                                                                                          65
                                                     www.ed.gov
     Case 6:21-cv-00474-AA      Document 50-19      Filed 08/06/21   Page 66 of 71




 Page 2 - OCR Reference No. 10142258

 Thank you for bringing this matter to our attention. If you have any questions, please
 contact Timothy Sell, senior attorney, by telephone at (206) 607-1639, or by e-mail
 at timothy.sell@ed.gov.




                                                 Monique M. Malson
                                                 Program Manager




EXHIBIT T                                                                                 66
      Case 6:21-cv-00474-AA          Document 50-19       Filed 08/06/21     Page 67 of 71



From:                   OCR
Sent:                   8 Dec 2014 06:58:26 -0600
To:                     ~ !(b)(6); (b)(7(C) lSeattle
Subject:                RE: Complaint against NNU

Dear Mr.   l\~,<
             5 (b)( 7
              >;


I am writing in response to your November 12, 2014, email inquiry to the U.S.
Department of Education (Department), Office for Civil Rights (OCR) regarding a
complaint against Northwest Nazarene University in Nampa, Idaho for the religious
exemption it seeks in relating to aspects of Title IX. Assistance was requested
regarding this matter. I am pleased to respond.

OCR is responsible for enforcing several Federal civil rights laws that prohibit
discrimination on the bases of race, color, national origin, sex, disability and age in
programs or activities that receive Federal financial assistance from the Department.
OCR also enforces Title II of the Americans with. Disabilities Act of 1990 (Title II) that
prohibits discrimination on the basis of disability by state and local government services
whether or not they receive Federal financial assistance. Additionally, OCR enforces the
Boy Scouts of America Equal Access Act,. which addresses equal access to school
facilities for the Boy Scouts and certain other youth groups.

The OCR Seattle Office (Office) is responsible for investigating complaints, conducting
compliance reviews and providing technical assistance regarding educational
institutions in Idaho. Therefore, I am forwarding your email to OCR's Seattle Office for
further review and appropriate handling. If you wish, you may contact that Office
regarding your concerns directly at the following:


                                           Office for Civil Rights, Seattle Office
                                           U.S. Department of Education
                                           915 Second Avenue Room 3310
                                           Seattle, WA 98174-1099
                                           Telephone :206-607-1600
                                           Facsimile. :206-607-1601
                                           TTY         :800-877-8339
                                           Email       :OCR.Seattle@ed.gov

I hope the information provided is of assistance.

Sincerely,



Donna D. Spencer-Nelson
Customer Service Team
Office for Civil Rights



EXHIBIT T                                                                                    67
      Case 6:21-cv-00474-AA                 Document 50-19     Filed 08/06/21      Page 68 of 71




From: ~ !(b)(6); (b)   I....
                        l<b_)(6_);_(b_)(7_(c_)
                                        _____        _,
Sent: Wednesday, November 12, 2014 11:16 PM
To:OCR
Subject: Complaint against NNU

To whom it may concern-

I would like to formally file a complaint against Northwest Nazarene University in
Nampa, Idaho for the religious exemption it seeks in relating to aspects of Title IX.

Northwest Nazarene cannot have an religious opposition to transgender students, staff
or faculty, because the Church of the Nazarene, its parent organization, does not have
a stance on matters of gender identity.

The statement on 'Human Sexuality' in the Church of the Nazarene Manual only refers
to 'homosexuality' and does not mention 'transgender' or 'gender identity' issues.
Furthermore, other documents released by the Church of the Nazarene in order clarify
the Manual position again, only focus on sexual orientation, and never have addressed
the issue of gender identity.

When I asked a General Superintendent, the highest official in the Nazarene Church,
about Church policy on transgender members, he said "The grace of God is extended to every
person, whoever they are. It is intrinsic in our understanding of the nature of God."

In the Church of the Nazarene policy is not set by the University, but by the
denomination. It is not the University that gets to take the lead when issues are silent,
but it is the parent denomination.

An exemption is contrary to NNU statement on 'Human Dignity' that it provided to you.
Again it only refers to sexual orientation. Items pertaining to issues of being
transgender fall under 'gender identity'. How does "adverse actions" on behalf on the
University protect the human dignity of the student or staff?

Furthermore, NNU is a part of a sub-group of Nazarenes called Nazarene Youth
International (NYI). NYI 's charter clearly states: "NYI is committed to understanding
and celebrating differences and diversity in language, color, race, culture,
socioeconomic class, and gender. Our differences do not diminish unity but enhance our
potential and effectiveness ... II An exemption would be contrary to an organization that
NNU is party to within the Church of the Nazarene.

You have given the NNU the power to expel anyone who displays non-gender
conforming actions, or based upon a mere rumor or suspicion that a student is
transgender. You have offered no protection to anyone accused, or course of action for



EXHIBIT T                                                                                          68
          Case 6:21-cv-00474-AA             Document 50-19   Filed 08/06/21   Page 69 of 71




a student to object and appeal the rulings of the NNU administration. Granting of such
an exemption will only continue cause physiological and physical harm to the individuals
who are transgender. What course of action does one have if they face "adverse
actions" by NNU for being transgender?

Please contact me if you have any additional questions.

Thank ou for your time,
     ); (b)(7(C)

                    azarene Ally
C. ..,,..,..,.,,...;.,,.....,.,.,.,,.,..)
                       - ....,
www .NazareneAlly.com




EXHIBIT T                                                                                     69
             Case 6:21-cv-00474-AA               Document 50-19            Filed 08/06/21         Page 70 of 71



                                 UNITED STATES DEPARTMENT OF EDUCATION                                              REGJONX
                                                 OFFICE FOR OVTL RIGHTS                                             ALASKA
                                                                                                                    Al\.ffiRlCANSAMOA
                                                    915 2ND AVE.,SUITE 3310                                         GUAM
                                                    SEATTLE, WA 98174-1099                                          HAWAII
                                                                                                                    IDAHO
                                                    January 22, 2015                                                MONTANA
                                                                                                                    NEVADA
                                                                                                                    NORTHERN MARIANA
                                                                                                                     ISLANDS
                                                                                                                    OREGON
VIA E-MAIL ONLy - l(b)(6); (b)(7(C)                                                                                 WASHINGTON




Re:      Northwest Nazarene University
         OCR Reference No. 10152031

Dear Mr. l<b)(6); (b)(?(c)   I
On December 8, 2014, the U.S. Department of Education, Office for Civil Rights (OCR)
received a copy of your e-mail, dated November 12, 2014, from OCR's customer service
office. In your e-mail, you stated that you would like to file a formal complaint against the
Northwest Nazarene University (university) for seeking a religious exemption to aspects of
title IX of the Education amendments of 1972 (Title IX). The purpose of this letter is to let
you know that OCR has completed its evaluation of your complaint.

OCR has the authority to enforce Title IX. Title IX prohibits sex discrimination in programs
and activities receiving federal financial assistance from the U.S. Department of Education.
The university receives federal financial assistance from this Department.

Any religious exemption sought by an institution would necessarily be reviewed by the
U.S. Department of Education's Assistant Secretary for Civil Rights. Any such request
would be required to contain a statement by the highest ranking official of the institution,
identifying the specific provisions of Title IX that conflict with a specific tenet of the
religious organization.

This office is not aware of any religious exemption that has been requested. However, the
act of requesting a religious exemption from Title IX is not a potential violation of Title IX.
Your complaint did not allege that the University has taken any discriminatory action on the
basis of sex that would violate the laws enforced by OCR. Therefore, we are dismissing your
complaint as of the date of this letter.

This letter sets forth OCR' s determination in an individual OCR case. This letter is not a
formal statement of OCR policy and should not be relied upon, cited, or construed as such.


      The Department of Education's mission is to promote studei1t aduevement and preparation for global competitiveness
                                by fostering educational excellence and ensuring equal access.
      EXHIBIT T                                          www.ed.gov                                                         70
          Case 6:21-cv-00474-AA       Document 50-19           Filed 08/06/21   Page 71 of 71




Page 2 -OCR Reference No. 10152031

OCR's formal policy statements are approved by a duly authorized OCR official and made
available to the public. You may have the right to file a private suit in federal court whether
or not OCR finds a violation.

We regret that OCR is unable to assist you with your concerns. If you have any questions
regarding this matter, please contact Timothy L. Sell, Senior Attorney, by telephone at (206)
607-1639, or by e-mail at timothy.sell@ed.gov.

                                          Sincerely,
                                            (b)(6); (b)(?(C)




                                          Monique Malson
                                          Acting Director
                                          Seattle Office




    EXHIBIT T                                                                                     71
